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1    THE HAHN LEGAL GROUPAPC
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     T:(310)706-3400/F:(310)706-3440
5
6    Attorneys for Defendant
     TARGET CORPORATION
7

8
                           UNITED STATES DISTRICT COURT

9           CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10
11
      ANTONIA ANGHEL                          CASE NO: 5:20-cv-02671
12
                    Plaintiff,                The Hon.
13                                            Magistrate Judge:
         vs.
14                                            NOTICE OF REMOVAL OF ACTION
      TARGET CORPORATION and                  UNDER 28 U.S.C. §1441(A) AND (B)
15    DOES 1 TO 50, Inclusive.                [DIVERSITY OF CITIZENSHIP
                                              JURISDICTION]; 28 U.S.C §1446; 28
16                  Defendants.               U.S.C. §1332

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18
19         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
20   DISTRICT OF CALIFORNIA AND TO THE PLAINTIFF AND HER
21   ATTORNEYS OF RECORD:
22         PLEASE TAKE NOTICE THAT Defendant TARGET CORPORATION
23   (“Target”), by and through its counsel of record, hereby gives notice of the
24   removal of this action from the California Superior Court, County of San
25   Bernardino where this case is now pending, to the above-entitled Court, the United
26   States District Court, Central District of California. This removal is made pursuant
27   to 28 U.S.C. §§1441, 1332, 1446(b)(3), and 1446(c)(3)(A). In support thereof,
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                                                                     NOTICE OF REMOVAL
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                                               1      Target states as follows:
                                               2                                   Timeliness of Removal
                                               3            1.     On January 31, 2020, Plaintiff, ANTONIA ANGHEL (“Plaintiff”)
                                               4      filed an action in the Superior Court of California, County of San Bernardino, Case
                                               5      No. CIVDS2003337, entitled Antonia Anghel v. Target Corporation and Does 1 to
                                               6      50, Inclusive, (“Complaint”). A true and correct copy of the conformed Complaint
                                               7      is attached hereto as Exhibit “A.” Plaintiff contends she slipped and fell in
                                              8       applesauce at a Target store at or near 4200 East 4 th Street, City of Ontario and
                                               9      sustained injuries. According to Plaintiff’s discovery responses and records
                                              10      subpoenaed in this case, Plaintiff’s known medical specials to date total
                                              11      approximately $45,662.00.
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                                                            2.     Target received a copy of the Summons and Complaint after it was
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                                              13      served on Target’s California agent for service of process on February 7, 2020. A
                                              14      true and correct copy of the Service of Process Transmittal is attached hereto as
                                              15      Exhibit “B.”
                                              16            3.     Plaintiff served a Statement of Damages on April 22, 2022, that
                                              17      outlined past damages totaling only $34,195.46. While Plaintiff alleged damages
                                              18      for future medical expenses, future loss of earnings, and loss of earning capacity
                                              19      according to proof, the stated damages at that time did not meet the amount in
                                              20      controversy requirement for removal to federal court. A true and correct copy of
                                              21      the Statement of Damages is attached hereto as Exhibit “C.”
                                              22            4.     Plaintiff initially responded to Target’s Form Interrogatories on April
                                              23      22, 2020. Her responses to Form Interrogatories Nos. 6.4 and 6.5 (related to
                                              24      treatment received and medication prescribed attributed to the subject incident)
                                              25      indicated medical special damages of $14,330.63.          Her response to Form
                                              26      Interrogatory No. 8.7 indicated loss of income of $21,482.46, and her response to
                                              27      Form Interrogatory No. 8.8 indicated that she would miss work in the future as she
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                                                                                                                     NOTICE OF REMOVAL
                                                                                                                      Case No. 5:20-cv-02671
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                                               1      was scheduled to have surgery. A true and correct copy of Plaintiff’s Responses to
                                               2      Target’s Form Interrogatories are attached hereto as Exhibit “D.”
                                               3            5.    Plaintiff has since supplemented her responses to Plaintiff’s Form
                                               4      Interrogatories Nos. 6.4 and 6.5 several times, including on April 29, 2020, May
                                               5      28, 2020, June 17, 2020, November 18, 2020, and December 1, 2020. Factoring in
                                               6      the supplemented information, as of December 1, 2020 Plaintiff’s total claimed
                                               7      medical special damages were $34,973.17.         These responses also indicated
                                              8       Plaintiff underwent surgery on April 16, 2020.       A true and correct copy of
                                               9      Plaintiff’s Supplemental Responses to Target’s Form Interrogatories are attached
                                              10      hereto as Exhibit “E.”
                                              11            6.    On December 4, Target received, in response to its subpoena, records
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                                              12      from Community Hospital of San Bernardino related to Plaintiff’s employment
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                                              13      therewith. The records indicated Plaintiff took time off work from April 15, 2020,
                                              14      through August 20, 2020, or approximately 18 weeks of missed work related to her
                                              15      April 16, 2020 surgery. Using the calculation Plaintiff utilized in her response to
                                              16      Form Interrogatory No. 8.7, Plaintiff’s claimed loss of earnings should be
                                              17      increased by approximately $33,624.72 ($51.89 per hour x 36 hours per week x 18
                                              18      weeks), to total $55,107.18 ($21,482.46 + $33,624.72). A true and correct copy of
                                              19      relevant pages from the subpoenaed employment records of Community Hospital
                                              20      of San Bernardino are attached hereto as Exhibit “F.”
                                              21            7.    This Notice of Removal is timely filed pursuant to 28 U.S.C. §§
                                              22      1332(a), 1446(b), and FRCP 6(a), in that it is filed within thirty (30) days after
                                              23      Target was in receipt of a copy of an amended pleading, motion, order or other
                                              24      paper from which it may first be ascertained that the case is one which is or has
                                              25      become removable (here, Plaintiff’s Supplemental Responses to Target’s Form
                                              26      Interrogatories, Exhibit “E,” taken together with records related to Plaintiff’s
                                              27      employment with Community Hospital of San Bernardino, Exhibit “F”).
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                                               1                                     Diversity of Citizenship
                                               2               8.    This Court has original jurisdiction over this action under 28 U.S.C. §
                                               3      1332 because it is a civil action between citizens of different states and the matter
                                               4      in controversy exceeds the sum or value of $75,000.00, exclusive of interest and
                                               5      costs. Accordingly, this action may be removed to this Court by Defendant under
                                               6      28 U.S.C. § 1441(b).
                                               7               9.    Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be
                                              8       a citizen of every State and foreign state by which it has been incorporated and of
                                               9      the State or foreign state where it has its principal place of business.”
                                              10               10.   Plaintiff is an individual residing in the State of California with her
                                              11      primary residence located in or about Rancho Cucamonga, in the County of San
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                                              13               11.   Defendant Target is a Minnesota corporation with its principal place
                                              14      of business in Minnesota. (Declaration of Adrienne R. Hahn ¶5, a true and copy of
                                              15      which is attached hereto as Exhibit “G.”)
                                              16               12.   The citizenship of the “Doe” Defendants is not considered in
                                              17      determining diversity for purposes of removal. See 28 U.S.C. § 1446(a).
                                              18               13.   Complete diversity of citizenship exists between the parties within the
                                              19      meaning of 28 U.S.C. § 1332 because Plaintiff is a citizen of California and
                                              20      Defendant Target is a “citizen” of Minnesota.
                                              21                                     Amount in Controversy
                                              22               14.   Pursuant to 28 U.S.C. § 1332(a), District Courts have original
                                              23      jurisdiction over all civil actions between citizens of different states where the
                                              24      matter in controversy exceeds the sum of $75,000.00, exclusive of interest and
                                              25      costs.
                                              26               15.   The Complaint does not set forth the amount in controversy because
                                              27      “California prohibits plaintiffs from setting out a monetary ad damnum….” Singer
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                                               1      v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 375-77 (9th Cir. 1997) (citing Cal.
                                               2      Code. Civ. Pro. § 425.10(b)).
                                               3             16.    “The district Court may consider whether it is ‘facially apparent’ from
                                               4      the Complaint that the jurisdictional amount is in controversy.” Singer, 115 F.3d at
                                               5      377.
                                               6             17.    If the amount in controversy is not “facially apparent,” a district Court
                                               7      may consider facts outside the face of the Complaint to determine whether the
                                              8       amount at stake satisfies the $75,000.00 case-and-controversy requirement. See
                                               9      Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (citing Singer, 116
                                              10      F.3d at 375-77).
                                              11             18.    In these instances, however, the removing party must “provide
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                                              12      evidence that it is ‘more likely than not’ that the amount in controversy exceeds
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                                              13      [$75,000.00].” Valdez, 372 F.3d at 1117 (citing Sanchez v. Monumental Life Ins.
                                              14      Co., 102 F.3d 398, 404 (9th Cir. 1996); Gaus v. Miles, Inc., 980 F.2d 564, 567 (9th
                                              15      Cir. 1992).
                                              16             19.    Here, Plaintiff contends she was injured as a result of slipping on
                                              17      spilled coffee. Plaintiff alleges her medical specials to date are $34,973.17 as
                                              18      reflected on her Statement of Damages and discovery responses. She also alleges
                                              19      future medical expenses according to proof. (Exhibits “C,” “D,” and “E.”)
                                              20             20.    Plaintiff also seeks recovery for loss of earnings. Plaintiff’s discovery
                                              21      responses and records subpoenaed from her employee indicate alleged past lost
                                              22      earnings of $55,107.18. Plaintiff additionally seeks future lost earnings and loss of
                                              23      earning capacity according to proof. (Exhibits “C,” “D,” and “F.”)
                                              24             21.    Plaintiff further contends she is making claims for general damages of
                                              25      $750,000, though these are not substantiated in evidence. (Exhibit “C.”)
                                              26             22.    Based on the above, Target estimates in good faith that the amount in
                                              27      controversy exceeds $75,000.00 (claimed past medical specials of $34,973.17 and
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                                               1      past lost wages of $55,107.18, totalling $90,080.35 without even accounting for
                                               2      past damages not yet known/disclosed, claimed unspecified future medical
                                               3      expenses and lost earnings and general damages of $750,000), exclusive of interest
                                               4      and costs. As such, Target has forth facts proving, by a preponderance of the
                                               5      evidence, that the amount-in-controversy requirement is met.
                                               6                                              Venue
                                               7            23.    Because this action was commenced in the Superior Court of San
                                              8       Bernardino, California, under 28 U.S.C. §84(c) and 1441(a), this United States
                                               9      District Court for the Central District of California, Eastern Division, is the proper
                                              10      forum for removal of this action from State to Federal Court.
                                              11                                              Notice
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                                                            24.    Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice
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                                              13      is being filed with the Clerk of the Superior Court of the State of California,
                                              14      County of San Bernardino, and is being served upon Plaintiff with written notice
                                              15      thereof, such that Subsection (d)’s requirements are being satisfied. A true and
                                              16      correct copy of Defendant’s Notice of Filing of Notice of Removal (without
                                              17      exhibits) that is being filed with the Clerk of the Superior Court of the State of
                                              18      California, County of San Bernardino, is attached hereto as Exhibit “H.”
                                              19            WHEREFORE, Defendant prays that this action be removed to this Court,
                                              20      that this Court accept jurisdiction of this action, and that this action be placed on
                                              21      the docket of this Court for further proceedings, the same as though this action had
                                              22      originally been instituted in this Court.
                                              23      ///
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                                               1                               Demand for Jury Trial
                                               2        Defendant also hereby demands a trial by jury on all issues so triable.
                                               3

                                               4   DATED: December 30, 2020             THE HAHN LEGAL GROUPAPC

                                               5

                                               6                                  By:
                                                                                        ADRIENNE R. HAHN,
                                               7                                        Attorneys for Defendant TARGET
                                                                                        CORPORATION
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                  EXHIBIT “A”
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   served on 1he plaintiff. A letter or phone call will not protect you. Your vuillcn response must be in proper legal form if you want the court to hear your
   case. There may be a court forrn thal ycu can use for your response. You can find these court forn1s and more infoonation al the California Courts
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                    BF.:AN·:':HNAt.tE   Sar: Gernar:::i.:.no Justice Center                                                                                       ~    . t!·.. U
      -·-            PLAINTIFF:/\r:ton.la l\nghel.                                     -~~,~~~--------



                  DEFENDANT:            Target      Co;.p.:;i1:at.     ~on       .:1nd




 ~
 ,
       x OOES1TO                        50_.t_JJ.ll>~us.l.VE-.
      COMPLAINT-Personal Injury, Property Damage, Wrongful Death
                      AMENDED (Number):
      Type (check all that apply):
 I.               MOTOR VEHICLE                             X    OTHER (specify): hc:n.cscs Li ab i. .li ty
                       Property Damage                             Wrongful Death Gener.al Neq.l.igence
                   ,·. Personal Injury                             Other Damages (specify):

      JuriSC:riCtion (check a// that a°pply);--                          -----·-----+·-----------
             ACTION IS A LIMITED CIVIL CASE
             Amount demanded                 docs not exceed $10,000
                                            exceeds $10,000, but does not exceed $25,000
        ;.:  ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
             ACTION JS RECLASSIFIED by this amended complaint
 I                  from lin1ited to unlimited
 L_____ ._,.!!:_C?.!_n     unlimited t2J.imited ·-·-·---· ------ -·---· ·-·--------·------··--··· - - - - - - · - - - - - - -
      1. Plaintiff (11a1110 or na111es1: l\n ton i. <J l\ n1; t:e .~

            allegescausesofactionagainstdefendant(na111eor11amcs}:'!'a:.c;cL                                          Corpor:utinn and 00!::.S l         r.o   ~O.
            Jnclus.i.ve.
      2. This pleading. including attach111ents and exhil>ils, consists of lhe fol!ow·ing nu1nber of pages:
      3. Each plaintiff nan1ed above is a competent adull
         a.       except plaintiff (na1ne):
            (1)         a corporation qualified to do business in California
            (2)          an unincorparaled entity (cfesclibe}:
            (3)          a public entily (describe):
            (4)          a minor           an adu!!
                 (a)         for \vhom a guardian or conservator of the estate or a guardian i:ld Jitem has been appointed
                 (b)         other (spocify):
            (5)         olher (specify):

            b.              except plaintiff (nao1e):
                   (1)             a corporation qualified to do business in California
                   (2)             an unincorporated entity (Ucscribc):
                   (3)             a public enlity (dL•scribc):
                   (4)              a rn·1nor          an adull
                           (a)           for whom a guardian or conservator of the estate or a guardian nd lilen1 has been appointed
                           (b)         olher (specify):
                   (5)             other (specify):


                         lnformalion about additional plaintiffs \VliO are not co1npelent adults is shov1n in Attachmenl 3.
                                                                                                                                                                         Pilgcloll
  ----·--o---
   ror...   u,e
          A,;:.:><':'•OJ IOI Oplt':l'~I
                                              --·----·-·--·----                  ·-·        -
                                                                    COMPLAINT-Personal Injury, Property
     Ju:l'C1ii! Ct:U'Y•• o! Califomia
  PlD·f'll·'>l! jl;cv Ja'""""'': Jo)()l)                                Damage, Wrongful Death



                                                                                                                                                               10
  Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 11 of 113 Page ID #:11




                                                                                                                                        PLD-Pl-001
  SHORT TITLE: Anghel               v. Target Corporation, et al.                                                 CASE; NUMBER:




   4.          Plaintiff (name):
               is doing business under the fictitious name (specify):

               and has complied with the fictitious business name laws.
   5.    Each defendant named above is a natural person
         a. X except defendant (name): Target                                    c.         except defendant (name):
           Corporation

              (1) .        a business organization, form unknown                      (1)      a business organization, form unknown
              (2)     x    a corporation                                              (2)      a corporation
              (3)          an unincorporated entity (describe):                       (3)      an unincorporated entity (describe):


              (4)          a public entity (describe):                                (4)      a public entity (describe):

              (5)          other (specify):                                           (5)      other (specify):



         b.            except defendant (name):                                  d.         except defendant (name):



              (1)          a business organization, form unknown                      (1)     . a business organization, form unknown
              (2)          a corporation                                              (2)       a corporation
              (3)          an unincorporated entity (describe):                       (3)       an unincorporated entity (describe):


              (4)          a public entity (describe):                                (4)      a public entity (describe):

              (5)          other (specify):                                           (5)      other (specify):




                    Information about additional defendants who are not natural persons is contained in Attachment 5.

   6.    The true names of defendants sued as Does are unknown to plaintiff.
         a.    X       Doe defendants (specify Doe numbers): 1        to 50.     Inclusive were the agents or employees of other
                       named defendants and acted within the scope of lhat agency or employmenl.

         b.    X       Doe defendants (specify Doe numbers): 1        to 50,     Inclusive are persons whose capacities are unknown to
                       plaintiff.
   7.               Defendants who are joined under Code of Civil Procedure section 382 are (names):




   8.    This court is the proper court because
         a.       at least one defendant now resides in its jurisdictional area.
         b.       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
         c.      X     injury to person or damage to personal property occurred in its jurisdictional area.
         d.            other (specify):




    9.              Plaintiff is required to comply with a claims statute, and
         a.            has complied with applicable claims statutes. or
         b.            is excused from complying because (specify):




PLD·Pl-OCl !Rev. January 1, 2007)
                                                         COMPLAINT-Personal Injury, Property
                                                               Damage, Wrongful Death
                                                                                                                                            P•go2of(l
                                                                                                                                           11
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 12 of 113 Page ID #:12




                                                                                                                                 PLD-Pl-001
   SHORT TITLE: Anghel v. Target Corporation, et al.                                                            CASE NUMBER:




10. The following causes of action are allached and the statements above apply to each (each complaint must have one or more
       causes of action attached):
       a.          Motor Vehicle
       b.   x      General Negligence
       c.          Intentional Tort
       d.          Products Liability
       e. X        Premises Liability
       f.          Other (specify):




11 . Plaintiff has suffered
     a.     x   wage loss
     b.         loss of use of property
     c.     x   hospital and medical expenses
     d.     x   general damage
     e.         property damage
     f.         loss of earning capacity
     g.         other damage (specify):




 12.             The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
       a.         listed in Attachment 12.
       b.         as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.



 14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable: and for
       a. (1)  X   compensatory damages
          (2)      punitive damages
          The amount of damages is (in cases for personal injury or wrongful death, you mus/ check (1)):
          (1)  X   according to proof
          (2)      in the amount of: $


 15.            The paragraphs of this complaint alleged on inlormation and belief are as follows (specify paragraph numbers):




 Date:      January          'l:J    2020


 Andrew J. Fodo
                          (TYPE OR PRINT NAME)

PLO-Pl-001 [ROV, January 1. 20071                COMPLAINT-Personal Injury, Pro                                                     "'''''" ~
                                                                                                                                              \a
                                                     Damage, Wrongful Death



                                                                                                                                   12
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 13 of 113 Page ID #:13




                                                                                                                                       PLD-Pl-001 (4
SHORT TITLE: Anghel v.                    Target Corporation,               et al.                         CASE NUMBER:




     First                                         CAUSE OF ACTION-Premises Liability                                              4 _ __
                                                                                                                              Page ....
                       (number)

   ATTACHMENT TO                     X     Complaint          Cross-Complaint
   (Use   a separate cause           of action form for each cause of action.)


   Prem.L-1.      Plaintiff(name): Antonia Anghel
                  alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                  On (date): February 23, 2018                   plainliff was injured on the following premises in lhe following

                  fashion (description of premises and circumstances of injury):
                  At or near the premises of 4200 East 4th Street, City of Ontario, County of
                  San Bernardino, State of California, the Defendants, and each of them,
                  proximately caused injuries and damages as hereinafter mentioned to said
                  Plaintiff by negligently, wantonly, recklessly, tortiously, and unlawfully
                  entrusting, permitting, managing, building, constructing, maintaining,
                  servicing, repairing, inspecting and operating said property by allowing a
                  known dangerous condition to exist that Defendants, and each of them, had
                  actual and/or conscructive knowledge to wit: As Plaintiff was shopping, she
                  walked into a puddle of spil.led applesauce which created a slippery and
                  dangerous surface, resultinq in Plaintiff slipping and falling, sustaining
                  serious and debilitating injuries and damages.
   Prem.l-2.             X   Count One--Negligence The defendants who negligently owned, maintained, managed and operated
                             the described premises were (names): Target Corporation and



                               x         Ooes =l_ _ _ to     ~5~0_ __


   Prem.L-3.                 Count Two--Willfut Failure to Warn [Civil Code section 846) The defendant owners who willfully
                             or maliciously failed to guard or warn against a dangerous condition, use, structure. or activity were
                             (names):

                                         Does _ _ _ _ to
                              Plaintiff,    a recreational user, was         an invited guest        a paying guest.

   Prem.L-4.                 Count Three--Dangerous Condition of Public Property The defendants who owned public property
                             on which a dangerous condition existed were (names):


                                              Does _ _ _ _ to
                             a.            The defendant public entity had         actual            constructive notice of the existence of the
                                           dangerous condition in sufficient time prior to the injury to have corrected it.
                              b.           The condition was created by employees of the defendant public entity.

   Prem.L-5. a.              Allegations about Other Defendants The defendants who were the agents and employees of the
                             other defendants and acted within the scope of the agency were (names):


                                         Ooes _ _ _ _ to
                  b.         The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                 described in attachment Prem.L-5.b        as follows (names):



                                                                                                                                               Pa c 1 oft
    Form ~proved for Option.al Use
      Judicial Council of Cali!omia              CAUSE OF ACTION-Premises Liability                          Le.Q-al       Code of Civil Procedure.§ 425.12

   PLO-Pl-00!(4) [Rev Jatwary 1. 2007)                                                                     Solut'.i'gns·
                                                                                                              '.'.®.Plus


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Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 14 of 113 Page ID #:14




                                                                                                                                   PLD-Pl-001(2)
SHORT TITLE:            Anghel v. Target Corporation, et al.                                             CASE NUMBER




         Second                                     CAUSE OF ACTION-General Negligence                                     Page =5_ __
                       (number)
        ATTACHMENT TO                      x    Complaint      Cross - Complaint

        (Use a separate cause of action form for each cause of action.)


        GN-1. Plaintiff (name):                Antonia Anghel

                   alleges that defendant (name):           Target Corporation and




                                 X      Does           to~      Inclusive.

                   was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act. defendant
                   negligently caused the damage to plaintiff
                   on(date): february 23, 2018
                   at (place): At or near the premises of 4200 East 4th Street, City of
                  Ontario, County of San Bernardino, State of California
                   (description of reasons for liability):
GN 1.1                   Plaintiff incorporates oy reference the allegations contained in her
                         first Cause of Action as if fully set forth and alleges:

GN 1.2                   At or near the premises of 4200 East 4th Street, City of Ontario,
                         County of San Bernardino, State of California, the Defendants, and
                         each of them, proximately caused injuries and damages as hereinafter
                         mentioned to said Plaintiff oy negligently, wantonly, recklessly,
                         cortiously, and unlawfully entrusting, permitting, managing,
                         building, constructing, maintaining, servicing, repairing, inspecting
                         and operating said property by allowing a known dangerous condition
                         to exist that Defendants, and each of them, had actual and/or
                         constructive knowledge to wit: As Plaintiff was shopping, she walked
                         into a puddle of spilled applesauce which created a slippery and
                         dangerous surface, resulting in Plaintiff slipping and falling,
                         sustaining serious and debilitating injuries and damages.




                                                                                                                                          Pa e 1of1
  Form AQprovecl tor Optional Use                                                                                      Coda of Civil Procedure 425.12

                                                                                                      soru~1s
    Judicial Colll'lcil of Clllifomio
PLD-Pl-001(2) [Rev. January 1. 2007)
                                                  CAUSE OF ACTION-General Negligence
                                                                                                        :'e_Plus



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Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 15 of 113 Page ID #:15




            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO




  San Bernardino District - Civil
  247 West Third Street

  San Bernardino, CA. 924150210
  ----------------------------------------------------------------------
                                         CASE NO: CIVDS2003337
    LAW OFFICES OF CARL D BARNES
    2500 EAST COLORADO BLVD.
    SUITE 350
    PASADENA CA 91107
                              NOTICE OF TRIAL SETTING CONFERENCE


  IN RE: ANGHEL -V- TARGET CORPORATION

  THIS CASE HAS BEEN ASSIGNED TO: LYNN     PONCIN IN DEPARTMENT S28
  FOR ALL PURPOSES.

  Notice is hereby given that the above-entitled case has been set for
  Trial Setting Conference at the court located at 247 WEST THIRD STREET
  SAN BERNARDINO, CA 92415-0210.

          HEARING DATE:   07/31/20 at   8:30 in Dept. S28


  DATE: 01/31/20   Nancy Eberhardt, Court Executive Officer
                                                     By: DEBRA PEDROSA


                   CERTIFICATE OF SERVICE

  I am a Deputy Clerk of the Superior Court for the County of San
  Bernardino at the above listed address. I am not a party to this
  action and on the date and place shown below, I served a copy of the
  above listed notice:
  ( ) Enclosed in a sealed envelope mailed to the interested party
  addressed above, for collection and mailing this date, following
  standard Court practices.
  ( J Enclosed in a sealed envelope, first class postage prepaid in the
  U.S. mail at the location shown above, mailed to the interested party
 t,45} addressed as shown above, or as shO\'m on the attached listing.
 L-;-J~ A copy of this notice was given to the filing party at the counter
  ( J A copy of this notice was placed in the bin located at this off ice
  and identified as the location for the above law firm's collection of
  file stamped documents.

  Date of Mailing: 01/31/20
  I declare under penalty of perjury that the foregoing is true and
  correct. Executed on 01/31/20 at San Bernardino, CA

                                          BY: DEBRA PEDROSA




                                                                         15
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 16 of 113 Page ID #:16




                    EXHIBIT “B”
                                                                         16
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 17 of 113 Page ID #:17

                                                                           Service of Process
                                                                           Transmittal
                                                                           02/07/2020
                                                                           CT Log Number 537152772
  TO:      Sue Carlson
           Target Corporation
           1000 Nicollet Mall
           Minneapolis, MN 55403-2542

  RE:      Process Served in California

  FOR:     Target Corporation (Domestic State: MN)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                  Antonia Anghel, Pltf. vs. Target Corporation, et al., Dfts.
  DOCUMENT(S) SERVED:               Summons, Complaint, Notice
  COURT/AGENCY:                     San Bernardino County - Superior Court - San Bernardino, CA
                                    Case # CIVDS2003337
  NATURE OF ACTION:                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 02/23/2018
  ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
  DATE AND HOUR OF SERVICE:         By Process Server on 02/07/2020 at 15:33
  JURISDICTION SERVED :             California
  APPEARANCE OR ANSWER DUE:         Within 30 days after service
  ATTORNEY(S) / SENDER(S):          Carl D. Barnes
                                    Law Offices of Carl D. Barnes
                                    2500 East Colorado Boulevard
                                    Suite 350
                                    Pasadena, CA 91107
                                    213-487-5200
  REMARKS:                          Due to the illegible condition of the enclosed documents, CT's transmittal may be
                                    incomplete.
  ACTION ITEMS:                     CT has retained the current log, Retain Date: 02/08/2020, Expected Purge Date:
                                    02/13/2020

                                    Image SOP
                                    Email Notification, Non Employee Litigation Target gl.legal@target.com

  SIGNED:                           C T Corporation System
  ADDRESS:                          1999 Bryan St Ste 900
                                    Dallas, TX 75201-3140
  For Questions:                    877-564-7529
                                    MajorAccountTeam2@wolterskluwer.com




                                                                           Page 1 of 1 / PP
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.

                                                                                                                                17
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 18 of 113 Page ID #:18




                   EXHIBIT “C”
                                                                         18
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 19 of 113 Page ID #:19




 1   Carl D. Barnes (State Bar No. 50073)
     Andrew J. Fodo (State Bar No. 89363)
 2   LAW OFFICES OF CARL D. BARNES
     2500 East Colorado Boulevard, Suite 350
 3   Pasadena, California 91107
     Telephone:    (213) 487-5200
 4   Facsimile:    (213) 487-0801
 5
 6   Attorneys for Plaintiff Antonia Anghel
 7
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                             FOR THE COUNTY OF SAN BERNARDINO
 9
10   ANTONIA ANGHEL,                           )   CASE NO.:    CIVDS2003337
                                               )
11                        Plaintiff,           )   PLAINTIFF'S RESPONSE TO
                                               )   DEFENDANT'S REQUEST FOR
12          vs.                                )   STATEMENT OF DAMAGES:
13   TARGET CORPORATION; and                   )
     DOES l THROUGH 30, Inclusive              ) Complaint Filed:      01131/2020
14                                             ) DEPT.:                S28
                          Defendant(s).        )
15
16
     RESPONDING PARTY:            Plaintiff:   ANTONIA ANGHEL
17
     PROPOUNDING PARTY:           Defendant:   TARGET CORPORATION
18
     SET NO:                      One ( l)
19
            TO DEFENDANT TARGET CORPORATION AND ITS ATTORNEY OF RECORD:
20
            COMES NOW: Plaintiff ANTONIA ANGHEL, pursuant to California Code of Civil
21
     Procedure, §425.11, submits the following verified Response to Defendant's Demand for
22
     Statement of Damages:
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     Ill
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     /II
25
     /II
26
     /II
27
     Ill
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                                                   1

                   Plaintiff's Response to Defendant's Request Statement of Damages



                                                                                             19
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 20 of 113 Page ID #:20




     Plaintiff's Statement of Damages
 2         1.       Medical Expenses                 $12,713.00 and continuing
 3         2.       Future Medical Expenses          According to proof
 4         3.       Loss of Earnings                 $21,482.46 and continuing
 5         4.       Future Loss of Earnings          According to proof
 6         5.       Loss of Earning Capacity         According to proof
 7         6.       General Damages                  $750,000.00
 8
 9
10
     DATED: April   ll_, 2020                        LAW OFFICES OF CARL D. BARNES
11
12
13
14
                                                     Attorney for Plaintiff
15
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                  Plaintiffs Response to Defendant's Request Statement of Damages



                                                                                     20
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 21 of 113 Page ID #:21



                                                           VERIFICATION
    STATE OF CALIFORNIA, COUNTY OF
        I have read the foregoing
                                                   San Bernardino
                                      Q\ct[�":> �tMr-<---                  �
                                                                                 �;9A.J
                                                                                 --=--t-===- '::::>   fl Arr..." L
                                                                                                      \�\.X).)""V\
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                                                                                                                         7"' '-- S,bb j.M" 1) �-'·,
                                                                                                                                              �
                                                                                                                                                    ..
                                                                                                                          and know its contents.
                                                 CHECK APPLICABLE PARAGRAPHS
x       I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
    those matters which are stated on information and belief, and as to those matters I believe them to be true.
        I am       an Officer       a partner _____               a _________ of

    a party to this action, and am authorized to make this verification for and on its behalf. and I make this verification for that
    reason.          I am informed and believe and on that ground allege that the matters stated in the foregoing document are
    true.        The matters stated in the foregoing document are true of my own knowledge, except as to those matters which are
    stated on information and belief, and as to those matters I believe them to be true.
          I am one of the attorneys for
    a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make'
    this verification for and on behalf of that party for that reason. I am informed and believe and on that ground allege that
    the matters stated in the foregoing document are true.
    Executed on                                                  . at ___________________ . Califor,lia
    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Antonia Anghel
                            Type or Print Name
                                                                                            •   �k           Signature
                                                       PROOF OF SERVICE
                                                          1013a (3) CCP Revised 511188


    STATE OF CALIFORNIA, COUNTY OF
        I am employed in the county of                                                                                       , State of California.
    I am over the age of 18 and not a party to the within action; my business address is:

         On,                                       I served the foregoing document described as


    _________________ on                                                                                              in this action
    by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
    by placing        the original      a true copy thereof enclosed in sealed envelopes addressed as follows:




    BY MAIL
             *I deposited such envelope in the mail at ______________________ _ , California.
        The envelope was mailed with postage thereon fully prepaid.
             As follows: I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
    Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                                      California in the ordinary course of business. I am aware that on motion of the
    party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
    deposit for mailing in affidavit.
    Executed on _____________ , at                                                                                         , California.
        **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
    Executed on _____________ , at _____________________ , California.
    (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
    (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
                  made.

                             Type or Print Name                                                             Signature
                                                                                 "(BY MAIL SIGNATURE MUST BE OF PERSON DEPOSITING ENVELOPE IN
                                                                                    MAIL SLOT, BOX, OR BAG)
                                                                              "'(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)


                                                                                                                        So�9�s-
                                                                                                                                          Rev. 7199

                                                                                                                          L<h,Plus




                                                                                                                                                21
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 22 of 113 Page ID #:22




 1                                          PROOF OF SERVICE

2    STA TE OF CALIFORNIA;
 3   COUNTY OF LOS ANGELES
 4          I am employed in the Countv of Los Angeles, State of California. I am over the age of 18
     and not a party to the within action; my business address is 2500 E. Colorado Blvd., Suite 350,
 5   Pasadena, California 91107.

 6           On April�2020, I served the foregoing document described as PLAINTIFF'S
     RESPONSE TO DEFENDANT'S REQUEST FOR STATEMENT OF DAMAGES on the
7    interested parties in said action, by placing a true copy thereof enclosed in a sealed envelope as
     follows:
 8
 9   SEE ATTACHED SERVICE LIST
     ( )  BY FAX:
                              I placed the foregoing document into transmission by
10                            facsimile to the office of the addressee.
11   (X)       BY MAIL:                     I am readily "familiar" with the firm's practice of collection
                                            and processing correspondence for mailing. Under that
12                                          practice it would be deposited with the U.S. Postal Service
                                            on that same day with postage thereon fully prepaid in Los
13                                          Angeles, California in the ordinary course of business. I
                                            am aware that on motion of the party served, service is
14                                          presumed invalid if the postal cancellation date or postage
                                            meter date is more than one day after date of deposit for
15                                          mailing in affidavit. - To Defendant's Counsel.
16   (     )   FEDERAL                      I declare that I am employed in the office of a member of
                                            the bar of this court at whose direction the service was
17                                          made.

18
     (X)       BY EMAIL:                    I placed the foregoing document into electronic
19                                          transmission by email to the office of the addressee on the
                                            attached service list.
20
                                   q,,,,,
21             Executed on April� , 2020, at Los Angeles, California.
22   I declare under penalty of perjury under the laws of the State of California that the above is true
     and correct.
23
24
25                                                                         Giancarla Sambo

26
27
28




                                                                                                             22
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 23 of 113 Page ID #:23




                                         SERVICE LIST
 2   Case Name:           Anf!hel -V- Target Corporation
     Case No:             CIVDS2003337
 3
 4
 5   Adrienne R Hahn, Esq.
 6   Adam C. Zamost, Esq.
     THE HAHN LEGAL GROUP, APC,
 7
     2361 Rosecrans Ave, Ste 373
     El Segundo, CA 90245-4923
 9   Phone:        (310) 706-3400
10   Fax:          (310) 706-3440
11   Email:        ahahn@hahnlegal group.com
                   azamost@hahnlegalgroup.com
12
13
     Attorney for Defendant
14
     TARGET CORPORATION
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                                                                          23
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                   EXHIBIT “D”
                                                                         24
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        Carl D. Barnes (State Bar No. 50073)
        Andrew J. Fodo (State Bar No. 89363)
    2   LAW OFFICES OF CARL D. BARNES
        2500 East Colorado Boulevard, Suite 350
    3   Pasadena, California 91107
        Telephone:    (213) 487-5200
    4   Facsimile:    (213) 487-0801
    5
        Attorneys for Plaintiff Antonia Anghel
    6
    7
   8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
    9                         FOR THE COUNTY OF SAN BERNARDINO
  10
        ANTONIA ANGHEL,                              )   CASE NO.:     CIVDS2003337
  11                                                 )
                              Plaintiff,             )   PLAINTIFF'S RESPONSE TO
  12                                                 )   DEFENDANT'S FORM
               vs.                                   )   INTERROGATORIES
  13
        TARGET CORPORATION; and                      ) Complaint Filed:        01/31/2020
  14    DOES 1 THROUGH 30, Inclusive                 ) DEPT.:                  S28
                                                     )
   15                         Defendant(s).
   16
        RESPONDING PARTY:             Plaintiff:     ANTONIA ANGHEL
  17
        PROPOUNDING PARTY:            Defendant:     TARGET CORPORATION
  18
        SET NO:                       One (1)
  19
               TO DEFENDANT TARGET CORPORATION AND ITS ATTORNEY OF
  20
        RECORD:
  21
               COMES NOW, Plaintiff ANTONIA ANGHEL responding under oath as follows
  22
        pursuant to §2030.010 et seq. of the California Code of Civil Procedure.
  23
  24
                                      PRELIMINARY STATEMENT
  25
               These responses are made solely for the purpose of this action. Each answer is
  26
        given subject to all appropriate objections, including competency, relevancy, materiality,
  27
        propriety, and admissibility, which would require the exclusion of any statement made by a
  28


                  Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                     25
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       witness in court. Responding Party farther objects to each interrogatory to the extent that it
   1
       seeks information protected by the attorney-client privilege, attorney work product
   2
       doctrine, or other privilege. Accordingly, all such objections are reserved for trial.
   3
              Responding Party has not completed investigation of the facts in this action, and
   4
       has not completed discovery or preparation for trial. Consequently, the following
   5
       responses are given without prejudice to Responding Party's right to produce at trial
   6
       subsequently discovered evidence, as Responding Party may subsequently discover later
   7
       acquired information, facts, evidence, witnesses that may materially alter, change, modify
   8
       Responding Party's responses herein. All responses are also based on the present
   9
       recollection of Responding Party.
  10
  11
       RESPONSE TO FORM INTERROGATORY NO. 1.1:
  12
              LAW OFFICES OF CARL D. BARNES
  13
              2500 East Colorado Boulevard, Suite 350
  14
              Pasadena, California 91107-3766
  15
              Telephone: (213) 487-5200; Facsimile: (213) 487-0801
  16
       RESPONSE TO FORM INTERROGATORY NO. 2.1:
  17
              ANTONIA ANGHEL
  18
              Antonia Dobrin (Birth - December 4, 1997), Antonia Anghel (December 4, 1997 -
  19
       Present)
  20
       RESPONSE TO FORM INTERROGATORY NO. 2.2:
  21
              January 8, 1960; Bocsa, Romania
  22
       RESPONSE TO FORM INTERROGATORY NO. 2.3:
  23
              Yes. California, Driver License No.A3500114; 1210312019; corrective lenses.
  24
       RESPONSE TO FORM INTERROGATORY NO. 2.4:
  25
              No.
  26
       Ill
  27
       Ill
  28


                  Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                        26
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        RESPONSE TO FORM INTERROGATORY NO. 2.5:
    2
               11478 Tioga Peak Ct., Rancho Cucamonga CA 91737
    3
               1.       11478 Tioga Peak Ct., Rancho Cucamonga CA 91737; (2000 - Present)
    4
        RESPONSE TO FORM INTERROGATORY NO. 2.6:
    5
               Community Hospital of San Bernardino, 1805 Medical Center Dr, San Bernardino,
    6
        CA 92411; (909) 887-6333; 2001 - Present; Respiratory Therapist.
   7
               1.       Community Hospital of San Bernardino, 1805 Medical Center Dr, San
    8
                        Bernardino, CA 92411; (909) 887-6333; September 2001 - Present;
    9
                        Respiratory Therapist - interview and examine patients with breathing or
  10
                        cardiopulmonary disorders.
  11
        RESPONSE TO FORM INTERROGATORY NO. 2.7:
  12
               1.       Bocsa, Romania, High School; Bosca, Romania; High School Diploma.
  13
               2.       Babes-Bolyai University; Strada Mihail Kogalniceanu 1, Cluj-Napoca
  14
                        400000, Romania; Bachelor of Science in Biology and Agriculture.
  15
               3.       Mt. San Antonio College; 1100 N Grand Ave, Walnut, CA 91789; 1998 -
  16
                        2000; A.S. Degree in Respiratory Therapy.
  17
        RESPONSE TO FORM INTERROGATORY NO. 2.8:
   18
               No.
  19
        RESPONSE TO FORM INTERROGATORY NO. 2.9:
  20
               Yes.
  21
        RESPONSE TO FORM INTERROGATORY NO. 2.10:
  22
               Yes.
  23
        RESPONSE TO FORM INTERROGATORY NO. 2.11:
   24
               No.
   25
        RESPONSE TO FORM INTERROGATORY NO. 2.12:
  26
               No.
  27
        Ill
  28


                    Plaintiff's Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                   27
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       RESPONSE TO FORM INTERROGATORY NO. 2.13:
              No.
   2
       RESPONSE TO FORM INTERROGATORY NO. 4.1:
   3
              Yes.
   4
              1.       Medical Insurance; Anthem Blue Cross, Dignity Health; PO Box 60007,
   5
                       Los Angeles, CA 90060; (844) 344-7412; #WKH830A22980.
   6
       RESPONSE TO FORM INTERROGATORY NO. 6.1:
   7
              Yes.
   8
       RESPONSE TO FORM INTERROGATORY NO. 6.2:
   9
              Chronic left knee synovitis, left knee patellar contusion, left knee pes anserine
  10
       bursitis, and left knee osteoarthritis. Bilateral knee pain, swelling, and bruising. Lower back
  11
       pain. Left elbow pain and bruising.
  12
       RESPONSE TO FORM INTERROGATORY NO. 6.3:
  13
              1.       Left knee pain; remaining the same; constant
  14
              2.       Right knee pain; subsided
  15
              3.       Lower back pain; subsided
  16
              4.       Left elbow pain; subsided
  17
       RESPONSE TO FORM INTERROGATORY NO. 6.4:
  18
              1.       Dignity Health - Community Hospital of San Bernardino; 1805 Medical
  19
                       Center Dr, San Bernardino, CA 92411; (909) 887-6333; emergency room
  20
                       medical services on 02/24/2018; total cost $4,054.00.
  21
              2.       CEP America California; 1601 Cummins Dr, Modesto, CA 95358; (800)
  22
                       498-7157; X-ray services on 02/24/2018; total cost $606.00.
  23
              3.       Gregory Lercel, MD; Southern California Orthopaedic; 160 E Artesia St
  24
                       #360, Pomona, CA 91767; (909) 629-4604; orthopaedic consultation and
  25
                       examination on 03/01/2018, and follow-up visits on 03/14/2018,
  26
                       03/28/2018, and 04/19/2018, follow-up visit and steroid injection on
  27
                       05/03/2018, and follow-up on 05/31/20 I 8; total cost $893.00.
  28
                                                     4
                   Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                         28
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             4.       Team Physical Therapy Inc.; 10590 Town Center Dr #100, Rancho
   1
                      Cucamonga, CA 91730; (909) 948-1124; physical therapy from 03/05/2018
   2
                      to 07/18/2018; cost $3,636.00; and upcoming physical therapy appointments
   3
                      duration unknown; cost unknown; total amount $3,636.00 and continuing.
   4
             5.       Grove Diagnostic Imaging; 8263 Grove Ave #102, Rancho Cucamonga, CA
   5
                      91730; (909) 982-8638; left knee MRI on 03/22/2018; cost $1,207.00.
   6
             6.       Empire Orthopedic Center; 900 E Washington St# 200, Colton, CA 92324;
   7
                      (909) 882-5867; orthopaedic consultation and examination of the left knee
   8
                      and X-Rays on 07/23/2018; total cost $814.00.
   9
             7.       Lawrence R. Walker, MD., Arrowhead Orthopaedics San Bernardino; 213 l
   10
                      Elks Dr #200, San Bernardino, CA 92404; (909) 726-6100; orthopaedic
  11
                      consultation and examination of the left knee on 10/24/2018; cost $430.00.
  12
            8.        Dr. Michael J. Fraipont, MD, Congress Medical Associates; 800 S Raymond
  13
                      Ave# 200, Pasadena, CA 91105; (626) 795-8051; orthopaedic consultation
  14
                      and examination of the left knee on 09/11/2019, follow up visit on
  15
                      02/04/2020, total cost $1,073.00; and arthroscopic left knee surgery on
  16
                      04/16/2020 and follow-up post-surgical appointments, cost unknown; total
  17
                      amount in excess of $1,073.00.
  18
            9.        Congress Medical Surgery Center LLC; 800 South Raymond Ave, Pasadena,
  19
                      CA 91105; (626) 795-8051; arthroscopic left knee surgery facility charges
  20
                      on 04/16/2020; cost in excess of $1,500.00.
  21
        RESPONSE TO FORM INTERROGATORY NO. 6.5:
  22
             Yes.
  23
            1.        Cameron Nouri, MD; Dignity Health - Community Hospital of San
  24
                      Bernardino; 1805 Medical Center Dr, San Bernardino, CA 92411; (909)
  25
                      887-6333; on 02/24/2018; Baclofen 10 mg, 1 tablet for muscle spasm, cost
  26
                      $4.26; Norco 325/5, 1 tablet, cost $5.30; Ibuprofen 600 mg l tablet for pain,
  27
                      cost $2.48; for a total cost $12.04.
  28
                                                   5
                  Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                      29
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            2.       Gregory Lercel, MD; Southern California Orthopaedic; 160 E Artesia St
                    #360, Pomona, CA 91767; (909) 629-4604; from 04/14/2018 to 05/31/2018;
   2
                     Tramadol and Ibuprofen for the pain; total cost $105.59.
   3
            3.       Ultram 50 mg, 1 to 2 tablets every 6 hours for 30 days as needed for pain
   4
                     and Voltaren gel 3g to the knee 3 times a day; Lawrence R. Walker, MD.,
   5
                     Arrowhead Orthopaedics San Bernardino; 2131 Elks Dr#200, San
   6
                     Bernardino, CA 92404; (909) 726-6100; on 10/24/2018; cost unknown.
   7
           4.        Iodine for swelling; Dr. Michael J. Fraipont, MD, Congress Medical
   8
                     Associates; 800 S Raymond Ave# 200, Pasadena, CA 91105; (626)
   9
                     795-8051; on 09/11/2019; cost unknown.
  10
       RESPONSE TO FORM INTERROGATORY NO. 6.6:
  11
           No.
  12
       RESPONSE TO FORM INTERROGATORY NO. 6.7:
  13
            Yes.
  14
           1.        Gregory Lercel, MD; Southern California Orthopaedic; 160 E Artesia St
  15
                    #360, Pomona, CA 91767; on 05/31/2018 recommended diagnostic
  16
                     arthroscopy for left knee contusion with continuing pain; duration and cost
  17
                     unknown.
  18
           2.        Lawrence R. Walker, MD., Arrowhead Orthopaedics San Bernardino; 2131
  19
                     Elks Dr#200, San Bernardino, CA 92404; on 10/24/2018 recommended
  20
                     Euflexxa injections to the left knee for left knee pain, left knee pes anserine
  21
                     bursitis, and left knee osteoarthritis; duration and cost unknown.
  22
           3.        Dr. Michael J. Fraipont, MD, Congress Medical Associates; 800 S Raymond
  23
                     Ave# 200, Pasadena, CA 91105; on 02/04/2020 recommended arthroscopic
  24
                     left knee surgery and additional physical therapy; cost in excess of
  25
                     $3,000.00. Arthroscopic left knee surgery on 04/16/2020.
  26
       RESPONSE TO FORM INTERROGATORY NO. 7.1:
  27
           No.
  28
                                                   6
                 Plaintiff's Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                       30
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        RESPONSE TO FORM INTERROGATORY NO. 7.2:
               Not applicable.
    2
        RESPONSE TO FORM INTERROGATORY NO. 7.3:
    3
               Not applicable.
    4
        RESPONSE TO FORM INTERROGATORY NO. 8.1:
    5
               Yes.
   6
        RESPONSE TO FORM INTERROGATORY NO. 8.2:
   7
               Respiratory Therapist at Community Hospital of San Bernardino, 1805 Medical
   8
        Center Dr, San Bernardino, CA 92411; September 2001 - Present; $51.89 per hour.
   9
        RESPONSE TO FORM INTERROGATORY NO. 8.3:
  10
               February 22, 2018
  11
        RESPONSE TO FORM INTERROGATORY NO. 8.4:
  12
               Basic monthly income of $8,032.57, plus weekends and overtime
  13
               $51.89 per hour x 36 hours per week x 4.3 weeks
   14
        RESPONSE TO FORM INTERROGATORY NO. 8.5:
   15
               May 17, 2018
  16
        RESPONSE TO FORM INTERROGATORY NO. 8.6:
  17
               From February 26, 2018, to May 16, 2018
  18
        RESPONSE TO FORM INTERROGATORY NO. 8.7:
  19
              A total amount of $21,482.46, plus weekends and overtime
  20
               $51.89 per hour x 36 hours per week x 11.5 weeks, plus weekends
  21
        RESPONSE TO FORM INTERROGATORY NO. 8.8:
  22
              Yes. Responding Party is scheduled to have surgery and will miss time from work,
  23
        duration unknown.
  24
        RESPONSE TO FORM INTERROGATORY NO. 9.1:
  25
              No.
  26
        RESPONSE TO FORM INTERROGATORY NO. 9.2:
  27
              Not applicable.
  28
                                                  7
                 Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                 31
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        RESPONSE TO FORM INTERROGATORY NO. 10.1:
               No.
    2
        RESPONSE TO FORM INTERROGATORY NO. 10.2:
    3
               None.
    4
        RESPONSE TO FORM INTERROGATORY NO. 10.3:
    5
               No.
    6
        RESPONSE TO FORM INTERROGATORY NO. 11.1:
   7
              No.
    8
        RESPONSE TO FORM INTERROGATORY NO. 11.2:
    9
              No.
   IO
        RESPONSE TO FORM INTERROGATORY NO. 12.1:
  11
              1.        Responding Party;
  12
               2.       Responding Party's husband Pascut Anghel, 11478 Tioga Peak Ct., Rancho
  13
                        Cucamonga CA 91737, (909) 944-8429;
   14
              3.        Propounding Party; Propounding Party's Executive Team Leader (ETL)
  15
                        Anthony Lopez; Propounding Party's employees names unknown;
  16
              4.        Store guest Simona Bradberry, 13982 Claremont Lane, Rancho Cucamonga,
  17
                        CA 91739; (909) 640-5306;
  18
              5.        Store guests at the subject matter store names unknown.
  19
        RESPONSE TO FORM INTERROGATORY NO. 12.2:
  20
               Yes. Simona Bradberry, 13982 Claremont Lane, Rancho Cucamonga, CA 91739;
  21
        (909) 640-5306; taken on 0911912019 by Kara Wayne of Wayne Investigations, Inc., 3311
  22
        Longridge Ave., Sherman Oaks, CA 91423; (818) 784-6944.
  23
        Ill
  24
        Ill
  25
        Ill
  26
        Ill
  27
        Ill
  28
                                                     8
                    Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                 32
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        RESPONSE TO FORM INTERROGATORY NO. 12.3:
               Yes. Recorded statement from Simona Bradberry; 13982 Claremont Lane, Rancho
    2
        Cucamonga, CA 91739; (909) 640-5306; taken on 0911912019 by Kara Wayne of Wayne
    3
        Investigations, Inc., 3311 Longridge Ave., Sherman Oaks, CA 91423; (818) 784-6944. A
    4
        copy of the written transcript of the recorded statement is produced concurrently herewith
    5
        in response to Respondent's Request for Production of Documents.
    6
        RESPONSE TO FORM INTERROGATORY NO. 12.4:
    7
               Yes.
    8
               1.       Four (4) color prints of color photographs; depicting Responding Party's left
    9
                        knee injuries; taken on 0212412018 by Responding Party's husband Pascut
   10
                        Anghel.
   11
               2.       Two (2) color prints of color photographs; depicting Responding Party's left
   12
                        knee injuries; taken on 02127/2018 by Responding Party's husband Pascut
   13
                        Anghel.
   14
               3.       Two (2) color prints of color photographs; depicting Responding Party's left
   15
                        knee injuries; taken on 0212812018 by Responding Party's husband Pascut
  16
                        Anghel.
  17
               4.       One (1) color print of color photograph; depicting Responding Party's left
   18
                        knee injuries; taken on 0312712018 by Responding Party's husband Pascut
   19
                        Anghel.
   20
               5.       Two (2) color prints of color photographs; depicting the floor, at the subject
   21
                        matter premises, taken on 02/24/2018 by Responding Party's husband
   22
                        Pascut Anghel.
   23
               6.       Two (2) color prints of color photographs; depicting condition of the pants
   24
                        Responding Party was wearing at the time of the accident, taken on
   25
                        0412512018 by Responding Party.
   26
        Ill
   27
        Ill
   28
                                                     9
                    Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                         33
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              7.       Four (4) color prints of color photographs; depicting the shoes Responding
                       Party was wearing at the time of the accident, taken on 0410712020 by Ron
   2
                       Johnson from the Law Offices of Carl D. Barnes; Law Offices of Carl D.
   3
                       Barnes, 2500 E Colorado Blvd. Ste. 350, Pasadena, CA, 91107; (213) 487-
   4
                       5200.
   5
       RESPONSE TO FORM INTERROGATORY NO. 12.S:
   6
              No.
   7
       RESPONSE TO FORM INTERROGATORY NO.12.6:
   8
              Yes. Propounding Party; February 23, 2018, Guest Incident Report filled out by
   9
       Propounding Party's Executive Team Leader (ETL) Anthony Lopez; Responding Party bas
  10
       a copy of the report; Defendant has original.
  11
       RESPONSE TO FORM INTERROGATORY NO.12. 7:
  12
              No.
  13
       RESPONSE TO FORM INTERROGATORY NO. 13.1:
  14
              No.
  15
       RESPONSE TO FORM INTERROGATORY NO.13.2:
  16
              No.
  17
       RESPONSE TO FORM INTERROGATORY NO.14.1:
  18
              Yes. Defendant TARGET CORPORATION violated, including but not limited to
  19
       California Civil Code §.1714.
  20
       RESPONSE TO FORM INTERROGATORY NO. 14.2:
  21
              Unknown.
  22
       Ill
  23
       Ill
  24
       Ill
  25
       Ill
  26
       Ill
  27
       Ill
  28
                                                    10
                   Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                    34
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        RESPONSE TO FORM INTERROGATORY NO. 17.1:
              1.       (a)     One
    2
                       (b)     Responding Party's treatment is continuing and incomplete and
    3
                              investigation and discovery are continuing. Arthroscopic left knee
    4
                              surgery scheduled; cost in excess of $3,000.00. Responding Party will
    5
                              require physical therapy; amount unknown. Responding Party will
    6
                              lose income; cost unknown. All while Responding Party believes her
   7
                              damages will exceed $75,000.00.
   8
                       (c)    Responding Party and her health care providers.
   9
                       (d)    Responding Party's medical records and billing statements produced
  10
                              concurrently herewith in Responses to Production of Documents.
  11
              2.       (a)    Two
  12
                       (b)    Unknown, however photographs show that substance was crusting
  13
                              therefore. was on the floor for sufficient time to Defendant discover.
   14
                       (c)
  15
                       1.     Responding Party;
  16
                       2.     Responding Party's husband Pascut Anghel, 11478 Tioga Peak Ct.,
  17
                              Rancho Cucamonga CA 91737, (909) 944-8429;
  18
                       3.     Propounding Party; Propounding Party's Executive Team Leader
  19
                              (ETL) Anthony Lopez; Propounding Party's employees names
  20
                              unknown;
  21
                       4.     Store guests at the subject matter store names unknown.
  22
                       (d)    Responding Party's medical records, billing statements, witness
  23
                              statement, photographs, and loss of earnings documents produced
  24
                              concurrently herewith in Responses to Production of Documents.
  25
        Ill
  26
        Ill
  27
        Ill
  28
                                                    11
                   Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                       35
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              .)   .       (a)     Three

                           (b)    Propounding Party and/or their agents, servants, contractors, and
    2
                                  employees. Defendants were negligent in the maintenance and
                                  management of the area and maintained a dangerous condition upon
    4
                                  the store floor. Defendants failed to warn that walking on or nearby
    5
                                  the foreign substance would/could cause someone to lose their footing
    6
                                  and otherwise fall and could/did create a dangerous condition near the
   7
                                  store entrance. Further as can be seen from the photographs taken on
   8
                                  02/24/2018, produced concurrently herewith, it appears certain areas
   9
                                  of the store floor surface, the substance dried and/or evaporated with
  10
                                  the passage of time and should have discovered the condition with
  1l
                                  inspections. Further Responding Party did not place warning signs
  12
                                  indicating a dangerous floor condition ahead. That as a result
  13
                                  Responding Party's foot slipped on the foreign substance causing
  14
                                  Responding Party to sustain bodily injuries and damages.
  15
                           (c)
  16
                           1.     Responding Party;
  17
                           2.     Responding Party's husband Pascut Anghel, 11478 Tioga Peak Ct.,
  18
                                  Rancho Cucamonga CA 91737, (909) 944-8429;
   19
                           3.     Propounding Party; Propounding Party's Executive Team Leader
  20
                                  (ETL) Anthony Lopez; Propounding Party's employees names
  21
                                  unknown;
  22
                           4.     Store guests at the subject matter store names unknown.
  23
                           (d)    Responding Party's medical records, billing statements, witness
  24
                                  statement, photographs, and loss of earnings documents produced
  25
                                  concurrently herewith in Responses to Production of Documents.
  26
        Ill
  27
        Ill
  28
                                                        12
                       Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                           36
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              2.       (a)     Four

                       (b)     Propounding Party and/or their agents, servants, contractors, and
    2
                               employees. Defendants were negligent in the maintenance and
    3
                               management of the area and maintained a dangerous condition upon
   4
                               the store floor. Defendants failed to warn that walking on or nearby
   5
                               the foreign substance would/could cause someone to lose their footing
   6
                              and otherwise fall and could/did create a dangerous condition near the
   7
                               store entrance. Further as can be seen from the photographs taken on
   8
                              02/24/2018, produced concurrently herewith, it appears certain areas
   9
                              of the store floor surface, the substance dried and/or evaporated with
  10
                              the passage of time and should have discovered the condition with
  11
                              inspections. Further Responding Party did not place warning signs
  12
                              indicating a dangerous floor condition ahead. That as a result
  13
                              Responding Party's foot slipped on the foreign substance causing
  14
                              Responding Party to sustain bodily injuries and damages..
  15
                       (c)
  16
                       1.     Responding Party;
  17
                       2.     Responding Party's husband Pascut Anghel, 11478 Tioga Peak Ct.,
  18
                              Rancho Cucamonga CA 91737, (909) 944-8429;
  19
                       3.     Propounding Party; Propounding Party's Executive Team Leader
  20
                              (ETL) Anthony Lopez; Propounding Party's employees names
  21
                              unknown;
  22
                       4.     Store guests at the subject matter store names unknown.
  23
                       (d)    Responding Party's medical records, billing statements, witness
  24
                              statement, photographs, and loss of earnings documents produced
  25
                              concurrently herewith in Responses to Production of Documents.
  26
        Ill
  27
        Ill
  28
                                                     13
                   Plaintiff's Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                       37
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 38 of 113 Page ID #:38




              .)   .       (a)    Five
    1
                           (b)    From the photographs the condition appears to blend in with the floor
    2
                                  tile.
    3
                           (c)
    4
                           1.     Responding Party;
    5
                           2.     Responding Party's husband Pascut Anghel, 11478 Tioga Peak Ct.,
    6
                                  Rancho Cucamonga CA 91737, (909) 944-8429;
    7
                           3.     Propounding Party; Propounding Party's Executive Team Leader
    8
                                  (ETL) Anthony Lopez; Propounding Party's employees names
    9
                                  unknown;
   10
                           4.     Store guests at the subject matter store names unknown.
  11
                           (d)    Responding Party's medical records, billing statements, witness
   12
                                  statement, photographs, and loss of earnings documents produced
  13
                                  concurrently herewith in Responses to Production of Documents.
  14
              4.           ( a)   Six
  15
                           (b)    Defendant failed to inspect the area, place warning signs in the area,
  16
                                  Plaintiff was walking in the area as a normal customer assuming that
  17
                                  the floor surface was free of debris foreign substance, safe to walk on.
  18
                           (c)    Responding Party and her health care providers.
  19
                           (d)    Responding Party's medical records and billing statements produced
   20
                                  concurrently herewith in Responses to Production of Documents.
   21
  22
  23                  ).A 2020
        DA TED: April_�- \                               LAW OFFICES OF CARL D. BARNES
   24
   25
   26
   27
                                                                 Attorney for Plaintiff
   28
                                                        14
                       Plaintiffs Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                             38
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                                                           VERIFICATION
    STATE OF CALIFORNIA, co
                                                                                         �_J<..,. � 1',\_---r:-:-: ..
                                                                 nardipo
                                                                                            �
       I have read the foregoing --'--'--.:....:.....,1Ac.1�---+-=-----�----+>------ --------       Ct�
                                                                                              ---==-----­
                                                                                            and know its contents.
                                                 CHECK APPLICABLE PARAGRAPHS
x       I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
    those matters which are stated on information and belief, and as to those matters I believe them to be true.
        I am       an Officer       a partner _____               a _________ of

    a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that
    reason.          I am informed and believe and on that ground allege that the matters stated in the foregoing document are
    true.        The matters stated in the foregoing document are true of my own knowledge, except as to those matters which are
    stated on information and belief, and as to those matters I believe them to be true.
          I am one of the attorneys for
    a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
    this verification for and on behalf of that party for that reason. I am informed and believe and on that ground allege that
    the matters stated in the foregoing document are true.
    Executed on                                                  , at _______________ ____ , California.
    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Antonia Anghel
                            Type or Print Name
                                                                                        Jju�                 Signature
                                                       PROOF OF SERVICE
                                                         1013a (3) CCP Revised 5/1/88


    STATE OF CALIFORNIA, COUNTY OF
        I am employed in the county of                                                                                       , State of California.
    I am over the age of 18 and not a party to the within action; my business address is:

         On,                                       I served the foregoing document described as


    ______ __________ on                                                                                              in this action
    by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
    by placing        the original      a true copy thereof enclosed in sealed envelopes addressed as follows:




    BY MAIL
             •1 deposited such envelope in the mail at _____ ____________ ______ , California.
        The envelope was mailed with postage thereon fully prepaid.
             As follows: I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
    Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                                      California in the ordinary course of business. I am aware that on motion of the
    party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
    deposit for mailing in affidavit.
    Executed on _____________ , at                                                                                         , California.
         **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
    Executed on _______ ____                            , at        --------·-------- --- , California.
    (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
    (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
                 made.

                             Type or Print Name                                                            Signature
                                                                               "(BY MAIL SIGN/\TUHE MUST BE OF PERSON DEPOSITING ENVELOPE IN
                                                                                  MAIL SLOT. BOX. OR BAG)
                                                                             ""(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)
                                                                                                                           Legal          Rev. 7/99
                                                                                                                         Solu[igns·
                                                                                                                           Leh.Plus



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 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 40 of 113 Page ID #:40




                                           PROOF OF SERVICE
 2   STATE OF CALIFORNIA;
 3   COUNTYOF LOS ANGELES
 4          I am employed in the Countv of Los Angeles, State of California. I am over the age of 18
     and not a party to the within action; my business address is 2500 East Colorado Boulevard, Suite
 5   350, Pasadena, Cali�ia 91107.
 6           On AprilL, 2020, I served the foregoing document described as PLAINTIFF'S
     RESPONSE TO DEFENDANT'S FORM INTERROGATORIES on the interested parties in said
 7   action, by placing a true copy thereof enclosed in a sealed envelope as follows:
 8   SEE ATTACHED SERVICE LIST
 9   ( )    BYFAX:                         I placed the foregoing document into transmission by
                                           facsimile to the office of the addressee.
10
11   (X)     BYMAIL:                       I am readily "familiar" with the firm's practice of collection
                                           and processing correspondence for mailing. Under that
12                                         practice it would be deposited with the U.S. Postal Service
                                           on that same day with postage thereon fully prepaid in Los
13                                         Angeles, California in the ordinary course of business. I
                                           am aware that on motion of the party served, service is
14                                         presumed invalid if the postal cancellation date or postage
                                           meter date is more than one day after date of deposit for
15                                         mailing in affidavit. - To Defendant's Counsel.
16   ( )    FEDERAL                        I declare that I am employed in the office of a member of
                                           the bar of this court at whose direction the service was
17                                         made.
18
     ( X)   BYEMAIL:                       I placed the foregoing document into electronic
19                                         transmission by email to the office of the addressee on the
                                           attached service list.
20
21
22          Executed on April � 2020, at Los Angeles, California.
23   I declare under penalty of perjury under the laws of the State of Califo         he above is true
     and correct.
24
25
26                                                                        Giancarla Sambo
27
28




                                                                                                            40
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                                         SERVICE LIST
 2   Case Name:           An2hel -V- Tar2et Corporation
     Case No:             CIVDS2003337
 3
 4
 5   Adrienne R Hahn, Esq.
 6   Adam C. Zamost, Esq.
     THE HAHN LEGAL GROUP, APC,
 7
     2361 Rosecrans Ave, Ste 373
     El Segundo, CA 90245-4923
 9   Phone:        (310) 706-3400
10   Fax:          (310) 706-3440
11   Email:        ahahn@hahnlegalgroup.com
                   azamost@hahnlegalgroup.com
12
13
     Attorney for Defendant
14
     TARGET CORPORATION
15
16
17
18
19
20
21
22
23
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25
26
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                                                2




                                                                          41
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                    EXHIBIT “E”
                                                                         42
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 43 of 113 Page ID #:43




        Carl D. Barnes (State Bar No. 50073)
        Andrew J. Fodo (State Bar No. 89363)
   2    LAW OFFICES OF CARL D. BARNES
        2500 East Colorado Boulevard, Suite 350
   3    Pasadena, California 91107
        Telephone:    (2 13) 487-5200
   4    Facsimile:    (2 13) 487-0801

   5
        Attorneys for Plaintiff Antonia Anghel
   6

   7

   8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

   9                          FOR THE COUNTY OF SAN BERNARDINO

  10
        ANTONIA ANGHEL,                              )   CASE NO.:     CIYDS2003337
  11                                                 )
                              Plaintiff,             )   PLAINTIFF'S SUPPLEMENTAL
  12                                                 )   RESPONSE TO DEFENDANT'S FORM
               vs.                                   )   INTERROGATORIES
  13                                                 )
        TARGET CORPORATION; and                      ) Complaint Filed:       01/31/2020
   14   DOES l THROUGH 30, Inclusive                 ) DEPT.:                 S28
                                                     )
  15                          Defendant( s).         )

   16
        RESPONDING PARTY:             Plaintiff:     ANTONIA ANGHEL
  17
        PROPOUNDING PARTY:            Defendant:     TARGET CORPORATION
   18
        SET NO:                       One (1)
  19
               TO DEFENDANT TARGET CORPORATION AND ITS ATTORNEY OF
  20
        RECORD:
  21
               COMES NOW, Plaintiff ANTONIA ANGHEL responding under oath as follows
  22
        pursuant to §2030.010 el seq. of the California Code of Civil Procedure.
  23
  24
                                      PRELIMINARY STATEMENT
  25
               These responses are made solely for the purpose of this action. Each answer is
  26
        given subject to all appropriate objections, including competency, relevancy, materiality,
  27
        propriety, and admissibility, which would require the exclusion of any statement made by a
  28


          Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                     43
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        witness in court. Responding Party further objects to each interrogatory to the extent that it

        seeks information protected by the attorney-client privilege, attorney work product
    2
        doctrine, or other privilege. Accordingly, all such objections are reserved for trial.
    3
                Responding Party has not completed investigation of the facts in this action, and
    4
        has not completed discovery or preparation for trial. Consequently, the following
    5
        responses are given without prejudice to Responding Party's right to produce at trial
    6
        subsequently discovered evidence, as Responding Party may subsequently discover later
    7
        acquired information, facts , evidence, witnesses that may materially alter, change, modify
    8
        Responding Party' s responses herein. All responses are also based on the present
    9
        recollection of Responding Party.
   10

   I1
        RESPONSE TO FORM INTERROGATORY NO. 6.4:
   12
               l.      Dr. Michael J. Fraipont, MD, Congress Medical Associates ; 800 S Raymond
   13
                       Ave# 200, Pasadena, CA 91105; (626) 795-8051; orthopaedic consultation
   14
                       and examination of the left knee on 09/11 /2019, follow up visit on
   15
                       02/04/2020, total cost $1,073 .00; arthroscopic left knee surgery on
   16
                       04116/2020, cost $5,670.00; post-surgery follow-up appointments, cost
   17
                       unknown; cost in excess of $6,743.00.
   18

   19

  20

  21
        DATED: AprilM , 2020                          LAW OFFICES OF CARL D. BARNES
  22                   1
  23

   24

   25
                                                              Attorney for
   26

   27

   28
                                                    2
           Plaintiff's Supplemental Response to Defendant's Form Interrogatories (Set No. One)




                                                                                                         44
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                                                            VERIFICATION




                                                  CHECK APPLICABLE PARAGRAPHS
x       I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
    those matters which are stated on information and belief, and as to those matters I believe them to be true.
        I am       an Officer       a partner                     a                          of

    a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that
    reason.          I am informed and believe and on that ground allege that the matters stated in the foregoing document are
    true.        The matters stated in the foregoing document are true of my own knowledge , except as to those matters which are
    stated on information and belief, and as to those matters I believe them to be true.
         I am one of the attorneys for
    a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
    this verification for and on behalf of that party for that reason . I am informed and believe and on that ground allege that
    the matters stated in the foregoing document are true.
    Executed on                                                  , at                                                    , California.
    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Antonia Anghel
                            Type or Prin t Name
                                                        PROOF OF SERVICE
                                                           1013a (3) CCP Revised 511188
                                                                                          ~~""
    STATE OF CALIFORNIA, COUNTY OF
        I am employed in the county of                                                                                       , State of California.
    I am over the age of 18 and not a party to the within action; my business address is:

         On,                                        I served the foregoing document described as


                                                                                                                                      in this action
    by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
    by placing        the original      a true copy thereof enclosed in sealed envelopes addressed as follows:




    BY MAIL
             *I deposited such envelope in the mail at - - - - - - - - - - - - - - - -- - - - - - - , California.
         The envelope was mailed with postage thereon fully prepaid .
             As follows: I am "readily familia r" with the firm's practice of collection and processing correspondence for mailing.
    Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                                      California in the ordinary course of business. I am aware that on motion of the
    party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
    deposit for mailing in affidavit.
    Executed on                                         • at                                                               , California.
         **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
    Executed on                                         . at                                                               , California.
    (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
    (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
                 made.

                             Type or Print Name                                                              Signature
                                                                                 '(BY MAIL SIGNATURE MUST BE OF PERSON DEPOSITING ENVELOPE IN
                                                                                    MAIL SLOT. BOX, OR BAG)
                                                                               ..(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)

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                                                                                                                         SoluLYQns·
                                                                                                                           ~ Plus




                                                                                                                                                45
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 46 of 113 Page ID #:46




                                           PROOF OF SERVICE

 2   STATE OF CALIFORNIA;

 3   COUNTY OF LOS ANGELES

4           I am employed in the Countv of Los Angeles. State of California. I am over the age of 18
     and not a party to the within action; my business address is 2500 East Colorado Boulevard, Suite
 5   350, Pasadena, California 91107.

6            On AprilV't , 2020, I served the foregoing document described as PLAINTIFF'S
     SUPPLEMENTAL RESPONSE TO DEFENDANT'S FORM INTERROGATORIES on the
7    interested parties in said action, by placing a true copy thereof enclosed in a sealed envelope as
     follows:
 8
     SEE ATTACHED SERVICE LIST
            BY FAX:                        I placed the foregoing document into transmission by
                                           facsimile to the office of the addressee.


            BY MAIL:                       I am readily "familiar" with the firm ' s practice of collection
                                           and processing correspondence for mailing. Under that
                                           practice it would be deposited with the U.S. Postal Service
                                           on that same day with postage thereon fully prepaid in Los
                                           Angeles. California in the ordinary course of business. I
                                           am aware that on motion of the party served, service is
                                           presumed invalid if the postal cancellation date or postage
                                           meter date is more than one day after date of deposit for
                                           mailing in affidavit. - To Defendant's Counsel.

            FEDERAL                        I declare that I am employed in the office of a member of
                                           the bar of this court at whose direction the service was
                                           made.


            BYEMAfL:                       I placed the foregoing document into electronic
                                           transmission bv email to the office of the addressee on the
                                           attached service list.




            Executed on ApriCJlL, 2020, at Los Angeles, California.


24

25
     and correct.                                                              H.
     I declare under penalty of perjury under the laws of the State of California th     e above is true



                                                                 ~~~~\:/
                                                                      ---~~~~~~~~


26
                                                                           Giancarla Samba
27

28




                                                                                                              46
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 47 of 113 Page ID #:47




                                         SERVICE LIST
 2   Case Name:           Anehel -V- Target Corporation
     Case No:             CIVDS2003337
 3

 4

 5   Adrienne R Hahn, Esq.
 6   Adam C. Zarnost, Esq.
     Brandi Rosales
 7
     THE HAHN LEGAL GROUP, APC,
 8
     2361 Rosecrans Ave, Ste 373
 9   El Segundo, CA 90245-4923
l0   Phone:        (3 I 0) 706-3400

11   Fax:          (3 10) 706-3440
     Emai l:       ahahn@hahnlegalgroup.com
12
                   azamost@hahnlegalgroup.com
13
                   brosales@hahnlegalgroup.com
14

15   Attorney for Defendant
16   TARGET CORPORATION

17

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                                                 2




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    1   Carl D. Barnes (State Bar No. 50073)
        Andrew J. Fodo (State Bar No. 89363)
    2   LAW OFFICES OF CARL D. BARNES
        2500 East Colorado Boulevard, Suite 350
    3   Pasadena, California 91107
        Telephone:    (213) 487-5200
   4    Facsimile:    (213) 487-0801

    5
        Attorneys for Plaintiff Antonia Anghel
    6

    7

    8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

    9                         FOR THE COUNTY OF SAN BERNARDINO

   10
        ANTONIA ANGHEL,                              )   CASE NO.:     ClYDS2003337
   11                                                )
                              Plaintiff,             )   PLAINTIFF'S SUPPLEMENT AL
   12                                                )   RESPONSE TO DEFENDANT'S FORM
               vs.                                   )   INTERROGATORIES
   13                                                )
        TARGET CORPORATION; and                      ) Complaint Filed:       01131/2020
   14   DOES I THROUGH 30, Inclusive                 ) DEPT.:                 S28
                                                     )
   15                         Defendant( s).         )

   16
        RESPONDING PARTY:             Plaintiff:     ANTONIA ANGHEL
   17
        PROPOUNDING PARTY:            Defendant:     TARGET CORPORATION
   18
        SET NO:                       One (I)
   19
               TO DEFENDANT TARGET CORPORATION AND ITS ATTORNEY OF
  20
        RECORD:
  21
               COMES NOW, Plaintiff ANTONIA ANGHEL responding under oath as follows
  22
        pursuant to §2030.0 10 el seq. of the California Code of Civil Procedure.
  23

   24
                                      PRELIMINARY STA TEMENT
   25
               These responses are made solely for the purpose of this action. Each answer is
   26
        given subject to all appropriate objections, including competency, relevancy, materiality,
   27
        propriety, and admissibility, which would require the exclusion of any statement made by a
   28
                                                   l
           Plaintiffs Supplemental Response to Defendant' s Form Interrogatories (Set No. One)




                                                                                                     48
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 49 of 113 Page ID #:49




        witness in court. Responding Party further objects to each interrogatory to the extent that it

        seeks information protected by the attorney-client privilege, attorney work product
    2
        doctrine, or other privilege. Accordingly, all such objections are reserved for trial.
    3
               Responding Party has not completed investigation of the facts in this action, and
    4
        has not completed discovery or preparation for trial. Consequently, the following
    5
        responses are given without prejudice to Responding Party's right to produce at trial
    6
        subsequently discovered evidence, as Responding Party may subsequently discover later
    7
        acquired information, facts, evidence, witnesses that may materially alter, change, modify
    8
        Responding Party' s responses herein. All responses are also based on the present
    9
        recollection of Responding Party.
   10

   11
        RESPONSE TO FORM INTERROGATORY NO. 6.4:
   12
               1.      Quest Diagnostics Upland Foothill; 1399 E Foothill Blvd Ste B, Upland, CA
   13
                       91786; (909) 946-9405; laboratory tests on 04/ 1112020; total cost $211.60.
   14
        RESPONSE TO FORM INTERROGATORY NO. 6.5:
   15
               1.     Cameron Nouri , MD; Dignity Health - Community Hospital of San
   16
                      Bernardino; 1805 Medical Center Dr, San Bernardino, CA 92411; (909)
   17
                       887-6333; Ibuprofen 600 mg 1 tablet for pain on 04/28/2020; cost $3.94.
   18
        RESPONSE TO FORM INTERROGATORY NO. 6.6:
   19
               1.     The UPS Store; 12223 Highland Ave Ste 106, Rancho Cucamonga, CA
   20
                      91739; (909) 463-2817; fax services on 04/23/2020; cost $7.00.
   21

   22

   23                 -J{)
        DATED: Ma:u::u 2020                           LAW OFFICES OF CARL D. BARNES
   24

   25

   26

   27

   28
                                                   2
           Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                         49
    Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 50 of 113 Page ID #:50



                                                           VERIFICATION
    STATE OF CALIFORNIA, CO~NTY OF S~n                  BernardiI).p                          ((     J...,... .                    ...- -
       I have read the foregoing      *.,
                                 ~lzli:,,... /      \lx>f<"'-Y<-    -lp   ~~t ~                      -ivL-M.._    kA.-~Ct.. nnM
                                                                                                                                and know its contents.
                                        0       CHECK APPLICABLE PARAGRAPHS
DU      I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
    those matters which are stated on information and belief, and as to those matters I believe them to be true.
D       I am D an Officer D a partner                        D a                             of

                                                                                                                                     '
    a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that
    reason. D        I am infonned and believe and on that ground allege that the matters stated in the foregoing document are
    true.D       The matters stated in the foregoing document are true of my own knowledge, except as to those matters which are
    stated on information and belief, and as to those matters I believe them to be true.
D         I am one of the attorneys for
    a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
    this verification for and on behalf of that party for that reason. I am infonned and believe and on that ground allege that
    the matters stated in the foregoing document are true.
    Executed on                                                  , at                                                   , California.
    I declare under penalty of perjury under the laws of the State of California that the foregoing is truz d correct.

    Antonia Anghel
                            Type or Pnnt Name
                                                                                                   .41J~           Signature
                                                      PROOF OF SERVICE
                                                         1013a (3) CCP Revised 5/1/88


    STATE OF CALIFORNIA, COUNTY OF
        I am employed in the county of                                                                                           , State of California.
    I am over the age of 18 and not a party to the within action; my business address is:

         On ,                                     I served the foregoing document described as



    - - - - - - - - - - - - - - - - on                                                                                in this action
D   by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
D   by placing  D     the original D    a true copy thereof enclosed in sealed envelopes addressed as follows:




0   BYMAIL
        D    *I deposited such envelope in the mail at                                                                     , California.
        The envelope was mailed with postage thereon fully prepaid.
        CJ   As follows: I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
    Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                                      California in the ordinary course of business. I am aware that on motion of the
    party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
    deposit for mailing in affidavit.
    Executed on                                         , at                                                               , California.
D        **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
    Executed on                                         , at                                                               , California.
D   (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
0   (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
                 made.

                             Type or Print Name                                                                   Signature
                                                                                 0
                                                                                     (BY MAIL SIGNATURE MUST BE OF PERSON DEPOSITING ENVELOPE IN
                                                                                       MAIL SLOT, BOX, OR BAG)
                                                                             0
                                                                                 "(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)


                                                                                                                              sotfef&ur
                                                                                                                                ~Prus
                                                                                                                                             Rev. 7199




                                                                                                                                                   50
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                                           PROOF OF SERVICE

 2   STATE OF CALIFORNIA;

 3   COUNTY OF LOS ANGELES

 4          I am employed in the Countv of Los Angeles. State of California. I am over the age of 18
     and not a party to the within action; my business address is 2500 East Colorado Boulevard, Suite
 5   350, Pasadena, California 91107.

 6           On MafJ.({;, 2020, I served the foregoing document described as PLAINTIFF 'S
     SUPPLEMEN L RESPONSE TO DEFENDANT'S FORM INTERROGATORIES on the
 7   interested parties in said action, by placing a true copy thereof enclosed in a sealed envelope as
     follows:
 8
     SEE A TT ACHED SERVICE LIST
 9
     ( )     BY FAX:                       I placed the foregoing document into transmission by
10                                         facsimile to the office of the addressee.

11
     ( )     BY MAIL:                      I am readily "familiar" with the firm's practice of collection
12                                         and processing correspondence for mailing. Under that
                                           practice it would be deposited with the U.S. Postal Service
13                                         on that same day with postage thereon fully prepaid in Los
                                           Angeles. California in the ordinarv course of business. I
14                                         am aware that on motion of the party served. service is
                                           presumed invalid if the postal cancellation date or postage
15                                         meter date is more than one day after date of deposit for
                                           mailing in affidavit. - To Defendant' s Counsel.
16
     (   )   FEDERAL                       I declare that I am employed in the office of a member of
17                                         the bar of this court at whose direction the service was
                                           made.
18
I9   (X)     BY EMAIL:                     I placed the foregoing document into electronic
                                           transmission by email to the office of the addressee on the
20                                         attached service list.

21


                           May~' 2020, at Los Angeles, California.
22
             Executed on
23
     ~~~=der penalty of perjury under the laws of the State of Californi~ove is true
24
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26
                                                                           Giancarla Sambo
27
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                                                                                                            51
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 52 of 113 Page ID #:52




                                         SERVICE LIST

 2   Case Name:           An2hel -V- Target Corporation
     Case No:             CIVDS2003337
 3

 4

 5   Adrienne R Hahn, Esq.

 6   Adam C. Zamost, Esq.
     Brandi Rosales
 7
     THE HAHN LEGAL GROUP, APC,
 8
     2361 Rosecrans Ave, Ste 373
 9   El Segundo, CA 90245 -4923
10   Phone:        (310) 706-3400
11   Fax:          (310) 706-3440
     Email:        ahahn@hahnlegalgroup.com
12
                   azamost@hahnlegalgroup.com
13
                   brosales@hahnlegalgroup.com
14

15   Attorney for Defendant
16   TARGET CORPORATION

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Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 53 of 113 Page ID #:53




        Carl D. Barnes (State Bar No. 50073)
        Andrew J. Fodo (State Bar No. 89363)
    2   LAW OFFICES OF CARL D. BARNES
        2500 East Colorado Boulevard, Suite 350
    3   Pasadena, California 91107
        Telephone:    (2 13) 487-5200
    4   Facsimile:    (213) 487-0801

    5
        Attorneys for Plaintiff Antonia Anghel
    6

    7

    8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

    9                         FOR THE COUNTY OF SAN BERNARDINO

   10
        ANTONIA ANGHEL,                              )   CASE NO.:     CIVDS2003337
   11                                                )
                              Plaintiff,             )   PLAINTIFF'S SUPPLEMENT AL
   12                                                )   RESPONSE TO DEFENDANT'S FORM
               vs.                                   )   INTERROGATORIES
   13                                                )
        TARGET CORPORATION; and                      ) Complaint Filed:       01/31 /2020
   14   DOES 1 THROUGH 30, Inclusive                 ) DEPT.:                 S28
                                                     )
   15                         Defendant(s).          )

   16
        RESPONDING PARTY:             Plaintiff:     ANTONIA ANGHEL
   17
        PROPOUNDING PARTY:            Defendant:     TARGET CORPORATION
   18
        SET NO:                       One (1)
   19
               TO DEFENDANT TARGET CORPORATION AND ITS ATTORNEY OF
   20
        RECORD:
   21
               COMES NOW, Plaintiff ANTONIA ANGHEL responding under oath as follows
   22
        pursuant to §2030.010 et seq. of the California Code of Civil Procedure.
   23

   24
                                      PRELIMINARY STATEMENT
   25
               These responses are made solely for the purpose of this action. Each answer is
   26
        given subject to all appropriate objections, including competency, relevancy, materiality,
   27
        propriety, and admissibility, which would require the exclusion of any statement made by a
   28


          Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)




                                                                                                     53
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 54 of 113 Page ID #:54




        witness in court. Responding Party further objects to each interrogatory to the extent that it

        seeks information protected by the attorney-client privilege, attorney work product
    2
        doctrine, or other privilege. Accordingly, all such objections are reserved for trial.
    3
               Responding Party has not completed investigation of the facts in this action, and
    4
        has not completed discovery or preparation for trial. Consequently, the following
    5
        responses are given without prejudice to Responding Party's right to produce at trial
    6
        subsequently discovered evidence, as Responding Party may subsequently discover later
    7
        acquired information, facts, evidence, witnesses that may materially alter, change, modify
    8
        Responding Party's responses herein. All responses are also based on the present
    9
        recollection of Responding Party.
   10

   l1
        RESPONSE TO FORM INTERROGATORY NO. 6.4:
   12
               1.      Dr. Michael J. Fraipont, MD, Congress Medical Associates; 800 S Raymond
   13
                       Ave # 200, Pasadena, CA 91105; (626) 795-8051 ; orthopaedic follow up
   14
                       visit on 04/23/2020; cost $60.00; and follow-up visit on 05115/2020; cost
   15
                       $60.00; for a total amount of $120.00.
   16

   17

   18                  f, 1
        DATED: June--ilL, 2020                        LAW OFFICES OF CARL D. BARNES
   19

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                                                   2
           Plaintiffs Supplemental Response to Defendant' s Form Interrogatories (Set No. One)




                                                                                                         54
     Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 55 of 113 Page ID #:55


                                                            VERIFICATION
    STATE OF CALIFORNIA, COANTY OF San ~~                        I-· · h~ r
       I havereadthefo~gcing -~~
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                                    ~H~~'-'~~~~~~~~~~~~
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                                                                 ~~~~~-~~~-~
                                                                          ~­
    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - and know its contents.
                                         0        CHECK APPLICABLE PARAGRAPHS
DO      I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
    those matters which are stated on information and belief, and as to those matters I believe them to be true.
D       I am D an Officer D a partner                        D a                             of
                                                                                                                                                       '
    a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that
    reason. D        I am informed and believe and on that ground allege that the matters stated in the foregoing document are
    true. D      The matters stated in the foregoing document are true of my own knowledge, except as to those matters which are
    stated on information and belief, and as to those matters I believe them to be true.
D         I am one of the attorneys for
    a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
    this verification for and on behalf of that party for that reason . I am informed and believe and on that ground allege that
    the matters stated in the foregoing document are true.
    Executed on                                                  , at                                                    , California.
    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Antonia Ang hel
                             Type or Print Name
                                                        PROOF OF SERVICE
                                                                                            ~nature
                                                          10138 (3) CCP Revised 511188


    STATE OF CALIFORNIA, COUNTY OF
        I am employed in the county of                                                                                       , State of California.
    I am over the age of 18 and not a party to the within action; my business address is:

         On ,                                       I served the foregoing document described as


    - - - - - - - - - - - - - - - - on                                                                                in this action
D   by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
D   by placing D the original D         a true copy thereof enclosed in sealed envelopes addressed as follows :




O   BY MAIL
        D    *I deposited such envelope in the mail at                                                                     , California.
         The envelope was mailed with postage thereon fully prepaid.
        D As follows: I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
    Under that practice it would be deposited with U. S. postal service on that same day with postage thereon fully prepaid at
                                                      California in the ordinary course of business. I am aware that on motion of the
    party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
    deposit for mailing in affidavit.
    Executed on                                         , at                                                               , California.
D       **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
    Executed on                                         , at                                                               , California.
0   (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
D   (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
                 made.

                             Type or Print Name                                                             Signature
                                                                                •(BY MAIL SIGNATURE MUST BE OF PER SON DEPOSITING ENVELOPE IN
                                                                                   MAIL SLOT. BOX, OR BAG)
                                                                              ··(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)


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                                                                                                                          L<h, Plus
                                                                                                                                          Re v. 7/99




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 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 56 of 113 Page ID #:56




                                           PROOF OF SERVICE

 2   STATE OF CALIFORNIA;

 3   COUNTY OF LOS ANGELES

 4          I am employed in the County of Los Angeles. State of California. I am over the age of 18
     and not a party to the within action; my business address is 2500 East Colorado Boulevard, Suite
 5   350, Pasadena, California 91107.

 6           On JuneJl, 2020, I served the foregoing document described as PLAINTIFF'S
     SUPPLEMENTAL RESPONSE TO DEFENDANT'S FORM INTERROGATORIES on the
 7   interested parties in said action, by placing a true copy thereof enclosed in a sealed envelope as
     follows:
 8
     SEE ATTACHED SERVICE LIST
 9
     ( )     BY FAX:                       I placed the foregoing document into transmission by
10                                         facsimile to the office of the addressee.

11
     ( )     BY MAIL:                      I am readily "familiar" with the firm's practice of collection
12                                         and processing correspondence for mailing. Under that
                                           practice it would be deposited with the U.S. Postal Service
13                                         on that same day with postage thereon fully prepaid in Los
                                           Angeles. California in the ordinary course of business. I
14                                         am aware that on motion of the party served. service is
                                           presumed invalid if the postal cancellation date or postage
15                                         meter date is more than one day after date of deposit for
                                           mailing in affidavit. - To Defendant' s Counsel.
16
     (   )   FEDERAL                       I declare that I am employed in the office of a member of
17                                         the bar of this court at whose direction the service was
                                           made.
18
19   ( X)    BY EMAIL:                     I placed the foregoing document into electronic
                                           transmission by email to the office of the addressee on the
20                                         attached service list.

21

22
             Executed on Junel.}_, 2020, at Los Angeles, California.
23
     I declare under penalty of perjury under the laws of the State of California that the above is true
24   and correct.

25                                                                        ){9-___
26
                                                                           Giancarla Sambo
27
28




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 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 57 of 113 Page ID #:57




                                         SERVICE LIST

 2   Case Name:           Anehel -V- Tare;et Corporation
     Case No:             CIVDS2003337
 3
 4

 5   Adrienne R Hahn, Esq.
 6   Adam C. Zamost, Esq.
     Brandi Rosales
 7
     THE HAHN LEGAL GROUP, APC,
 8
     2361 Rosecrans Ave, Ste 373
 9   El Segundo, CA 90245-4923
l0   Phone:        (310) 706-3400
11   Fax:          (310) 706-3440
     Email:        ahahn@hahnlegalgroup.com
12
                   azamost@hahnlegalgroup.com
13
                   brosales@hahnlegalgroup.com
14

15   Attorney for Defendant
16   TARGET CORPORATION

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Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 58 of 113 Page ID #:58




       Carl D. Barnes (State Bar No. 50073)
       Andrew J. Fodo (State Bar No. 89363)
   2   LAW OFFICES OF CARL D. BARNES
       2500 East Colorado Boulevard, Suite 350
   3   Pasadena, California 91107
       Telephone:    (213) 487-5200
   4   Facsimile:    (213) 487-0801

   5
       Attorneys for Plaintiff Antonia Anghel
   6

   7

   8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

   9                         FOR THE COUNTY OF SAN BERNARDINO

  10
       ANTONIA ANGHEL,                              )   CASE NO.:     CIVDS2003337
  11                                                )
                             Plaintiff,             )   PLAINTIFF'S SUPPLEMENTAL
  12                                                )   RESPONSE TO DEFENDANT'S FORM
              vs.                                   )   INTERROGATORIES
  13                                                )
       TARGET CORPORATION; and                      ) Complaint Filed:        0113112020
  14   DOES 1 THROUGH 30, Inclusive                 ) DEPT.:                  S28
                                                    )
  15                         Defendant(s).          )

  16
       RESPONDING PARTY:             Plaintiff:     ANTONIA ANGHEL
  17
       PROPOUNDING PARTY:            Defendant:     TARGET CORPORATION
  18
       SET NO:                       One (1)
  19
              TO DEFENDANT TARGET CORPORATION AND ITS ATTORNEY OF
  20
       RECORD:
  21
              COMES NOW, Plaintiff ANTONIA ANGHEL responding under oath as follows
  22
       pursuant to §2030.0 10 et seq. of the California Code of Civil Procedure.
  23

  24
                                     PRELIMINARY STATEMENT
  25
              These responses are made solely for the purpose of this action. Each answer is
  26
       given subject to all appropriate objections, including competency, relevancy, materiality,
  27
       propriety, and admissibility, which would require the exclusion of any statement made by a
  28
                                                 l
         Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                    58
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 59 of 113 Page ID #:59




        witness in court. Responding Party further objects to each interrogatory to the extent that it

        seeks info1mation protected by the attorney-client privilege, attorney work product
    2
        doctrine, or other privilege. Accordingly, all such objections are reserved for trial.
    3
                Responding Party has not completed investigation of the facts in this action, and
    4
        has not completed discovery or preparation for trial. Consequently, the following
    5
        responses are given without prejudice to Responding Party's right to produce at trial
    6
        subsequently discovered evidence, as Responding Party may subsequently discover later
    7
        acquired information, facts, evidence, witnesses that may materially alter, change, modify
    8
        Responding Party's responses herein. All responses are also based on the present
    9
        recollection of Responding Party.
   10

   11
        RESPONSE TO FORM INTERROGATORY NO. 6.4:
   12
               1.      Dr. Christopher Charbonnet, MD; Foothill Pain Management; 1530 E Chevy
   13
                       Chase Dr Suite 204, Glendale, CA 91206; (818) 241-7246; consultation and
   14
                       examination on 08/31/2020 and follow-up visits on 09/16/2020 and on
   15
                       0913012020; total cost unknown.
   16
               2.      Dr. Michael J. Fraipont, MD, Congress Medical Associates; 800 S Raymond
   17
                       Ave # 200, Pasadena, CA 91105; (626) 795-8051; orthopaedic consultation
   18
                       and examination of the left knee on 09/ 11120 19, cost $455.00 and $220.00;
   19
                       follow up visit on 02/04/2020, cost $398.00; arthroscopic left knee surgery
   20
                       on 04/16/2020, cost $5,670.00 and walker, cost $336.00; follow-up post-
   21
                       surgical appointments, cost unknown; and physicians report for $120.00;
   22
                       total amount in excess of $7, 199.00.
   23

   24
        DA TED: Novemberq_, 2020
   25

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                                                   2
           Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)




                                                                                                         59
      Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 60 of 113 Page ID #:60


                                                              VERIFICATION
     STATE OF CALIFORNIA, COUNTY OF San Bernardino                                                        ~    \.-,
        1 have read the foregoing ~\A,\/\~ ~
                                          1
                                             ~fpiw ~                      ..        rLo ,f</Y\~ ~ ::::v=~\.-'~ ~                            :t'A~~
     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - and know its contents.
                                         0         CHECK APPLICABLE PARAGRAPHS
 OU      I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
     those matters which are stated on information and belief, and as to those matters I believe them to be true.
 D       I am   D   an Officer   D   a partner                     aD                         of

     --------------------------------------------~
     a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that                  .
     reason .   D     I am informed and believe and on that ground allege that the matters stated in the foregoing document are
     true.D       The matters stated in the foregoing document are true of my own knowledge, except as to those matters which are
     stated on information and belief, and as to those matters I believe them to be true.
 D         I am one of the attorneys for
     a party to this action . Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
     this verification for and on behalf of that party for that reason . I am informed and believe and on that ground allege that
     the matters stated in the foregoing document are true.
     Executed on                                                  , at                                                    , California.
     I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

     Antonia Ang hel
                             Type or Print Name
                                                         PROOF OF SERVICE
                                                                                                ~ii::.
                                                            1013a (3) CCP Revised 511188


     STATE OF CALIFORNIA, COUNTY OF
         I am employed in the county of                                                                                       , State of California.
     I am over the age of 18 and not a party to the within action; my business address is:

          On,                                        I served the foregoing document described as


     - - - - - - - - - - - - - - - - on                                                                                in this action
D    by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
D    by placing  D     the original D    a true copy thereof enclosed in sealed envelopes addressed as follows:




O  BY MAIL
       D *I deposited such envelope in the mail at                                                                       . California.
       The envelope was mailed with postage thereon fully prepaid .
      D As follows: I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
   Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                                     California in the ordinary course of business. I am aware that on motion of the
   party served , service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
   deposit for mailing in affidavit.
   Executed on                                          • at                                                              • California.
D      **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
   Executed on                                         , at                                                              . California.
0 (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
D (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
               made.

                              Type or Print Name                                                              Signature
                                                                                  '(BY MAIL SIGNATURE MUST BE OF PERSON DEPOSITING ENVELOPE IN
                                                                                     MAIL SLOT, BOX, OR BAG)
                                                                                ..(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)


                                                                                                                          sofu,~s-         Rev. 7/99

                                                                                                                            ~ Plus




                                                                                                                                                       60
 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 61 of 113 Page ID #:61




                                           PROOF OF SERVlCE

 2   STA TE OF CALIFORNIA;

 3   COUNTY OF LOS ANGELES

 4          I am employed in the County of Los Angeles, State of California. I am over the age of 18
     and not a party to the within action; my business address is 2500 East Colorado Boulevard, Suite
 5   350, Pasadena, California 91 107.

 6           On NovemberJ!, 2020, I served the foregoing document described as PLAINTIFF'S
     SUPPLEMENTAL RESPONSE TO DEFENDANT'S FORM INTERROGATORIES on the
 7   interested parties in said action, by placing a true copy thereof enclosed in a sealed envelope as
     follows:
 8
     SEE ATTACHED SERVICE LIST
 9
     ( )     BY FAX:                       I placed the foregoing document into transmission by
10                                         facsimile to the office of the addressee.

11
     (X)     BY MAIL:                      lam readily " familiar" with the firm' s practice of collection
12                                         and processing correspondence for mailing. Under t hat
                                           practice it would be deposited with the U.S. Postal Service
13                                         on that same day with postage thereon fully prepaid in Los
                                           Angeles. California in the ordinary course of business. I
14                                         am aware that on motion of the party served, service is
                                           presumed invalid if the postal cancellation date or postage
15                                         meter date is more than one day after date of deposit for
                                           mailing in affidavit. - To Defendant' s Counsel.
16
     (   )   FEDERAL                       I declare that I am employed in the office of a member of
17                                         the bar of this court at whose direction the service was
                                           made.
18
19   ( X)    BY EMAIL:                     [ placed the foregoing document into electronic
                                           transmission bv email to the office of the addressee on the
20                                         attached service list.

21

22

23
             Executed on   November~, 2020, at Los Angeles, California.
     I declare under penalty of perjury under the laws of the State of Califomi           above is true
24   and correct.

25

26
                                                                          Giancarla Sambo
27

28




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 Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 62 of 113 Page ID #:62




                                         SERVICE LIST

 2   Case Name:           Ane:hel -V- Tan:et Corporation
     Case No:             CIVDS2003337
 3

 4

 5   Adrienne R Hahn, Esq.

 6   Adam C. Zamost, Esq.
     Brandi Rosales
 7
     THE HAHN LEGAL GROUP, APC,
 8
     2361 Rosecrans Ave, Ste 373
 9   El Segundo, CA 90245-4923
10   Phone:        (310) 706-3400
11   Fax:          (310) 706-3440
     Email:        ahahn@hahnlegalgroup.com
12
                   azarnost@hahnlegalgroup.com
13
                   brosales@hahnlegalgroup.com
14

15   Attorney for Defendant
16   TARGET CORPORATION

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Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 63 of 113 Page ID #:63




        Carl D. Barnes (State Bar No. 50073)
        Andrew J. Fodo (State Bar No. 89363)
    2   LAW OFFICES OF CARL D. BARNES
        2500 East Colorado Boulevard, Suite 350
    3   Pasadena, California 91 l 07
        Telephone:    (213) 487-5200
    4   Facsimile:    (213) 487-0801

    5
        Attorneys for Plaintiff Antonia Anghel
    6
    7
    8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

    9                         FOR THE COUNTY OF SAN BERNARDINO

   10
        ANTONIA ANGHEL,                              )   CASE NO.:     CIVDS2003337
   ll                                                )
                              Plaintiff,             )   PLAINTIFF'S SUPPLEMENT AL
   12                                                )   RESPONSE TO DEFENDANT'S FORM
               vs.                                   )   INTERROGATORIES
   13                                                )
        TARGET CORPORATION; and                      ) Complaint Filed:        01/31 /2020
   14   DOES 1 THROUGH 30, Inclusive                 ) DEPT.:                  S28
                                                     )
   15                         Defendant(s).          )

   16
        RESPONDING PARTY:             Plaintiff:     ANTONIA ANGHEL
   17
        PROPOUNDING PARTY:            Defendant:     TARGET CORPORATION
   18
        SET NO:                       One (1)
   19
               TO DEFENDANT TARGET CORPORATION AND ITS ATTORNEY OF
   20
        RECORD:
   21
               COMES NOW, Plaintiff ANTONIA ANGHEL responding under oath as follows
   22
        pursuant to §2030.0 10 et seq. of the California Code of Civil Procedure.
   23

   24
                                      PRELIMINARY STATEMENT
   25
               These responses are made solely for the purpose of this action. Each answer is
   26
        given subject to all appropriate objections, including competency, relevancy, materiality,
   27
        propriety, and admissibility, which would require the exclusion of any statement made by a
   28


          Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                     63
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 64 of 113 Page ID #:64




        witness in court. Responding Party further objects to each interrogatory to the extent that it

        seeks information protected by the attorney-client privilege, attorney work product
    2
        doctrine, or other privilege. Accordingly, all such objections are reserved for trial.
    3
                Responding Party has not completed investigation of the facts in this action, and
    4
        has not completed discovery or preparation for trial. Consequently, the following
    5
        responses are given without prejudice to Responding Party's right to produce at trial
    6
        subsequently discovered evidence, as Responding Party may subsequently discover later
    7
        acquired information, facts, evidence, witnesses that may materially alter, change, modify
    8
        Responding Party's responses herein. All responses are also based on the present
    9
        recollection of Responding Party.
   10

   11
        RESPONSE TO FORM INTERROGATORY NO. 6.4:

               1.      Dr. Christopher Charbonnet, MD; Foothill Pain Management; l 530 E Chevy

                       Chase Dr Suite 204, Glendale, CA 91206; (818) 241-7246; consultation and

                       examination on 08/31/2020, cost $500.00, and follow-up visits on

                       09/ 16/2020, cost $250.00, and on 09/30/2020, cost $250.00; total amount

                       $1,000.000.

               2.      Dr. Michael J. Fraipont, MD, Congress Medical Associates; 800 S Raymond

                       Ave # 200, Pasadena, CA 91105; (626) 795-8051; post-op follow-up visit on

                       07/08/2020, cost $486.00; orthopaedic examination on 07/24/2020, cost

                       $565.00; follow-up visit and MRI on 07/28/2020, cost $1,427.00; orthopedic

                      evaluation on 07/3112020, cost $565.00; orthopaedic evaluation on

                      08/07/2020, cost $375.00; total amount $3,418.00.




                                                   2
           Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)



                                                                                                         64
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              3.       Democratic Anesthesiologists, Inc.; PO Box 90730, Pasadena, CA 91109;

                       (626) 701-0118; anesthesia services on 04/ 16/2020, cost $1 ,940.00.
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                   Novembe~ ~
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        DATED:                  , 2020               LAW OFFICES OF CARL D. BARNES
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                                                            Attorney for Plaintiff
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          Plaintiffs Supplemental Response to Defendant's Form Interrogatories (Set No. One)



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Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 66 of 113 Page ID #:66



                                                           VERIFICATION
    STATE OF CALIFORNIA, COUNTY OF San Bernardino
       I have read the foregoing  t1"''4ibt
                                  ~                  ¥
                                          IM..(ltt\JL {lofJV'.V"-                               Ao    ~cktt~~~~~
                                                                                                                              and know its contents.
                                                 CHECK APPLICABLE PARAGRAPHS
x       I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
    those matters which are stated on information and belief, and as to those matters I believe them to be true.
        I am t     an Officer [ -I a partner                 [ _J a                          of

    a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that
    reason . ~ I am informed and believe and on that ground allege that the matters stated in the foregoing document are
    true.      1 The matters stated in the foregoing document are true of my own knowledge, except as to those matters which are
    stated on information and belief, and as to those matters I believe them to be true.
     l I am one of the attorneys for
    a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make'
    this verification for and on behalf of that party for that reason . I am informed and believe and on that ground allege that
    the matters stated in the foregoing document are true.
    Executed on                                                  , at                                                    , California .
    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Antonia Anghel
                            Type or Print Name
                                                       PROOF OF SERVICE
                                                          1013a (3) CCP Revised 511188


    STATE OF CALIFORNIA, COUNTY OF
        I am employed in the county of                                                                                          . State of California.
    I am over the age of 18 and not a party to the within action; my business address is:

         On,                                       I served the foregoing document described as


                                                                                                                                         in this action
      by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
    1
      by placing r      the original [    a true copy thereof enclosed in sealed envelopes addressed as follows:




    , BY MAIL
             *I deposited such envelope in the mail at - - -- - -- - -- - - - - -- - - - -- - - - . California.
        The envelope was mailed with postage thereon fully prepaid.
             As follows. I am "readily famil iar" with the firm's practice of collection and processing correspondence for mailing.
    Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                                      California in the ordinary course of business. I am aware that on motion of the
    party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
    deposit for mailing in affidavit.
    Executed on                                         , at                                                               , California.
        **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
    Executed on                                         , at                                                               , California.
    (State)      I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
    (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
                 made.

                             Type or Print Name                                                                 Signature
                                                                                 0
                                                                                     (BY MAIL SIGNATURE MUST BE OF PERSON DEPOSITING ENVELOPE IN
                                                                                       MAIL SLOT. BOX, OR BAG)
                                                                               ..(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)


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                                                                                                                              L@. Plus
                                                                                                                                             Rev. 7/99




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                                            PROOF OF SERVICE

 2   STATE OF CALIFORNIA;

 3   COUNTY OF LOS ANGELES

4           I am employed in the Countv of Los Angeles. State of California. I am over the age of 18
     and not a party to the within action; my business address is 2500 East Colorado Boulevard, Suite
 5   350, Pasadena, California 91107.

6            On ~~r.__!_,           2020, I served the foregoing document described as PLAINTIFF'S
     SUPPLEMENTAL RESPONSE TO DEFENDANT'S FORM INTERROGATORIES on the
 7   interested parties in said action, by placing a true copy thereof enclosed in a sealed envelope as
     follows:
 8
     SEE ATTACHED SERVICE LIST
 9
                                            I placed the foregoing document into transmission by
                                            facsimile to the office of the addressee.


                                            I am readily "familiar" with the firm's practice of collection
                                            and processing correspondence for mailing. Under that
                                            practice it would be deposited with the U.S. Postal Service
                                            on that same day with postage thereon fully prepaid in Los
                                            Angeles, California in the ordinarv course of business. I
                                            am aware that on motion of the party served, service is
                                            presumed invalid if the postal cancellation date or postage
                                            meter date is more than one day after date of deposit for
                                            mailing in affidavit. - To Defendant's Counsel.

                                            I declare that I am employed in the office of a member of
                                            the bar of this court at whose direction the service was
                                            made.


                                            I placed the forego ing document into electronic
                                            transmission by email to the office of the addressee on the
                                            attached service list.




                       on~__l_, 2020, at Los Angeles, California.
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            Executed
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     and correct.
                                                                                  ir
     I declare under penalty of perj ury under the laws of the State of California th;t
                                                                                /1 d
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                                                                           G iancarla Sambo
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                                          SERVICE LIST

 2   Case Name:            An2hel -V- Tar~et Corporation
     Case No:              CIVDS2003337
 3

 4

 5   Adrienne R Hahn, Esq.
 6   Adam C. Zamost, Esq.
     Brandi Rosales
 7
     THE HAHN LEGAL GROUP, APC,
 8
     236 l Rosecrans Ave, Ste 3 73
 9   El Segundo, CA 90245-4923
10   Phone:        (310) 706-3400
11   Fax:          (310) 706-3440
     Email :       ahahn@hahnlegalgroup.com
12
                   azamost@hahnlegalgroup.com
13
                   brosales@hahnlegalgroup.com
14

15   Attorney for Defendant
16   TARGET CORPORATION

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                    EXHIBIT “F”
                                                                         69
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               ORDER #:            303676.038


               CASE NAME:          Anghel v. Target Corporation


               RECORDS ON:         Antonia Anghel


               RECORDS FROM:       Community Hospital of San
                                   Bernardino (Human
                                   Resources)
                                   1805 Medical Center Drive
                                   San Bernardino, CA 92411

               SUBSTITUTED FOR:




                                                                         70
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         Employee Time Card Report
   Between 1/1/2015 and 10/13/2020
   Showing Only Primary Pay Codes
       For Employee(s) 157483


                                                                                                                      -
                                                            I
                                                                                                                                       l
                                                                                                   Worked

         Rounded   Rounded    Rounded   Rounded                                           Pay
Actual                                            Special   Rounded    Pay      Quick                                      Worked
           Start     Start      End       End                                            Period    Process
Hours                                              Code      Hours     Code     Code                                      Department
           Date     Time        Date     Time                                            Ending
                                                                                                    Level

  8.27 03/14/2016 18:00      03/15/2016 02:15                   8.25 100-REG            03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
  3.85 03/15/2016 02:45      03/15/2016 06:30                   3.75 100-REG            03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
    6.8 03/15/2016 18:00     03/16/2016 00:45                   6. 75 100-REG           03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
                             03/16/2016 05:00                   3.75 100-REG            03/26/2016 373       772000
                                                                                                                                 ---
                                                                                                                          RESPIRATORY
  3.75 03/16/2016 01 :15
                                                                                                                          THERAPY
  6.47 03/19/2016 18:00      03/20/2016 00:15                   6.25 100-REG    27632   03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
  5.53 03/20/2016 00:45      03/20/2016 06:30                   5.75 100-REG    27632   03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
  8.43 03/20/2016 18:00      03/21/2016 02:15                   8.25 100-REG            03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
  3.65 03/2112016 02:45      03/21/2016 06:30                   3. 75 100-REG           03726/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
    8.3 03/23/2016 18:00     03/24/2016 02:15                   8.25 100-REG    27632   03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
   3.65 03/24/2016 02:45     03/24/2016 06:30                   3.75 100-REG    27632   03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
   8.37 03/24/2016 18:00     03/25/2016 02:15                   8.25 100-REG            03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
    3.7 03/25/2016 02:45     03/25/2016 06:30                   3.75 100-REG            03/26/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
   7.87 03/28/2016 18:00     03/29/2016 01:45                   7 J5 100-REG            04/09/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
   4.23 03/29/2016 02:15     03/29/2016 06:30                   4.25 100-REG            04/09/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY
   7.85 03/29/2016 18:00     03/30/2016 01:45                   7.75 100-REG            04/09/2016 373       772000       RESPIRATORY
                                                                                                                          THERAPY



                                                                                               Community Hospital of San Bernardino 00006
                                                                                                                                           71
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     Employee Time Card Report
 Between 1/1 /2015 and 10/13/2020
 Showing Only Primary Pay Codes
     For Employee(s) 157483


4.22 04/03/2020 02:15    04/03/2020 06:30                      4.25 100-REG        40608      04/04/2020 373      772000
                                                                                                                    RESPIRATORY
                                                                                                                    THERAPY
8. 78 04/06/2020 18:00   04/07/2020 02:45                       8.75 1OD-REG                                 772000 RESPIRATORY
                                                                                                                    THERAPY
3.23 04/07/2020 03:15    04/07/2020 06:30                       3.25 100-REG      40608   04/18/2020 373     772000 RESPIRATORY
                                                                                                                    THERAPY
8.25 04/07/2020 18:00    04/08/2020 02:15                       8.25 100-REG      40608   04/18/2020 373     772000 RESPIRATORY
                                                                                                                    THERAPY
  3.7 04/08/2020 02:45   04/08/2020 06:30                       3.75 100-REG      40608   04/18/2020 373     772000 RESPIRATORY
                                                                                                                    THERAPY
6.52 04/11/2020 18:00    04/12/2020 00:30                    - 6.5160·REG 40-608----04/{8/2020 _3_73-------n-2006-FiESPIRATORY
                                                                                                                    THERAPY
5.45 04/12/2020 01 :00   04/12/2020 06:30                     ··- 5.5-foo-REG --·-4o60B--04718/2020373---772000-RESPIR-AT_O_R_Y_

8.18 04/12/2020 18:00    04/13/2020 02:00
                                                                      -------
                                                                 8 1OD-REG            ----
                                                                                   40608   - - - - 373
                                                                                         04/18/2020
                                                                                                                ----     THERAPY
                                                                                                                  772000 RESPIRATORY
                                                                                                                  _ _ _ THERAPY
3.88 04/13/2020 02:30    04/13/2020 06:30                                                                         772000 RESPIRATORY
                                                                                                                         THERAPY
  12 04/15/2020 18:00    04/16/2020 06:00                       12 524-PTO                    04/18/2020 373      77=2o~o=o~R"'E=c:SPIRATORY
                                                                   UNSCHED                                              THERAPY
  12 04/16/2020 18:00    04/1712020 06:00                       12524-PTO                     04/18/2020 373      772000RESPIRATORY
                                                                   UN SCH ED                                            THERAPY
  12 04/20/2020 18:00    04/21/2020 06:00                       12 504-LTS                     05/02/2020 373    772000 RESPIRATORY
                                                                                                                        THERAPY
  12 04/21/2020 18:00    04/22/2020 06:00                             12 504-LTS               05/02/2020 373    772000 RESPIRATORY
                                                                                                                        THERAPY
 15.1 05/01/2020 07:00   05/01/2020 22:00   - - - - - - - - - · - . {5~1-S04-LTS __ . --- ---05/02/202o373--i72oo6-RESPIRA_T_O_R_Y_
                                                                                                                           THERAPY
15.47 05/08/2020 07:00   05/08/2020 22:00                     15.47   504~-L=T~s-···--   ·-·-o-5-1f612o2o 373     772000   RESPIRATORY
                                                                                                                           THERAPY
15.48 05/15/2020 07:00   05/15/2020 22:00                     15.48 504-LTS                   05/16/2020   373     772000 RESPIRATORY -- - -
                                                                                                                           THERAPY
15.47 05/22/2020 07:00   05/22/2020 22:00                     15.47 504-LTS                   05/30/2020   373     772000 RESPIRATORY
                                                                                                             _ _ _ _ _ _ _THERAPY
15.48 05/29/2020 07:00   05/29/2020 22:00                     15.48 504-LTS                   05/30/2020   373     772000 RESPIRATORY-
                                                                                                                           THERAPY
15.47 06/05/2020 07:00   06/05/2020 22:00                     15.47 504-LTS                   06/13/2020   373     772000 RESPIRATORY
                                                             ··-··--------                                                 THERAPY
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                                                                                                      Community Hospital of San Bernardino 00068
                                                                                                                                               72
                     Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 73 of 113 Page ID #:73



       Employee Time Card Report
    Between 1/1/2015 and 10/13/2020
    Showing Only Primary Pay Codes
        For Employee(s) 157483


  15.48 06/12/2020 07:00    06/12/2020 22:00                            15.48 504-LTS            06/13/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
  15.47 06/19/2020 07:00    06/19/2020 22:00                            15.47 504-LTS            06/27/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
  15.48 06/26/2020 07:00    06/26/2020 22:00                            15.48 504-LTS            06/27/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
  13.08 07/03/2020 07:00    07/03/2020 20:00                            13.08 504-LTS            07/11 /2020 373   772000   RESPIRATORY
                                                                                                                            THERAPY
   4.78 07/10/2020 08:00    07/10/2020 12:00                            4.78 500-PTO             07/11 /2020 373   772000   RESPIRATORY
                                                                                                                            THERAPY
  13.09 07/10/2020 07:00    07/10/2020 20:00                            13.09 504-LTS            07/11 /2020 373   772000   RESPIRATORY
                                                                                                                            THERAPY
                                                                        15.47 500-PTO
                                                                                           -------
  15.47 07/17/2020 07:00    07/17/2020 22:00                                                     07/25/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
  15 .48 07/24/2020 07:00   07/24/2020 22:00                            15.48 500-PTO            07/25/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
--15.47 07/31/2020 07:00    07/31/2020 22:00                            15:47 500-PTO            08/08/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
  15.48 08/07/2020 07:00    08/07/2020 22:00                            15.48 500-PTO            08/08/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
  19.24 08/14/2020 07:00    08/15/2020 02:00                            19.24 500-PTO            08/22/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
  19.25 08/19/2020 07:00    08/20/2020 02:00                            19.25 500-PTO            08/22/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
   1.33 08/20/2020 09:45    08/20/2020 11:00   ME--------                1.25 603-               08/22/2020 373    772000   RESPIRATORY
                                                                              ANNUAL                                        THERAPY
                                                                              REQ
      7 08/24/2020 17:00    08/25/2020 00:00   ---------                    7 100-REG            09/05/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
                                                            ---   ~-~   --
   8.22 08/25/2020 18:00    08/26/2020 02:00   ---------                     8 100-REG   40608   09/05/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY
   3.83 08/26/2020 02:30    08/26/2020 06:30                                 4 100-REG   40608   09/05/2020 373    772000   RESPIRATORY
                                               ---------                                                                    THERAPY
   8.22 08/29/2020 18:00    08/30/2020 02:00   ---------                     8 100-REG   40608   09/05/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY··
   3. 77 08/30/2020 02:30   08/30/2020 06:30   ---------                     4 100-REG   40608   09/05/2020 373    772000   RESPIRATORY
                                                                                                                            THERAPY



                                                                                                         Community Hospital of San Bernardino 00069
                                                                                                                                              73
                       Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 74 of 113 Page ID #:74


r   ay1 I ICI IL LJCLClll L-1-=>Lll I~
ZZ260 Date 10/0B/20                               Company   100   DIGNITY HEALTH                                                           Page      39
      Time 19:29                                  Payment Detail Listing           .
                                                  Date Range 01/01/15 - 10/0B/20

              Hours,
Earnings      Units                      Amount Tax Ded         Amount          Taxable Other Ded          Amount     Cpy Ded   Amount       Taxable
   1574B3 ANGHEL, ANTONIA                     04/10/20 2515B4BO A.C.H         4,5B2.ll         905.57                900. 47    355.51      2,667.93
                   Hours,
Earnings           Units                 Amount Tax Ded           Amount        Taxable    Other Ded       Amount     Cpy Ded   Amount       Taxable
GTL                                      lOB.14 FICA HI            64 .96      4,479.97    LIFE             45.32    SUI CA
SHF3PRD            72.00                 5B3.0B STATE CA          133.09       3,792.65    LTD               5.79    LIFE CMP     6.07
                                                SDI CA             43. 72      4,371.B3    AD&D              1.40    LTD CMP      6.26
                                                                                           SPLIFE            2.9B    AD&D CMP      .47
                                                                                           DUE SEIU         77. 74
                                                                                           COPE              4.62
                                                                                           VOL BENS         25.67
     1574B3 ANGHEL, ANTONIA                   04/24/20 25216435 A.C.H         4,387.77            B44.02             882.B5     340.65      2,552.76
                   Hours,
Earnings           Units             Amount     Tax Ded           Amount        Taxable    Other Ded       Amount     Cpy Ded   Amount       Taxable
REGULAR            4B. 00          2,591.53     FEDERAL           352.20       3,627.46    403(b)%         65B.17    FICA SS    265. 71     4,285.63
UNSCHPTO           24.00           1,295.77     FICA SS           265. 71      4,2B5.63    DENTAL           49.63    FICA HI     62.14      4,285.63
WEEKENDF           12.00               3.60     FICA HI            62.14       4,2B5.63    LIFE             45.32    SUI CA
GTL                                  lOB.14     STATE CA          122.19       3,627.46    LTD               5.79    LIFE CMP     6.07
SHF3PRD            4B. 00            38B.73     SDI CA             41.7B       4,177.49    AD&D              1.40    LTD CMP      6 .26
                                                                                           SPLIFE            2.9B    AD&D CMP       .47
                                                                                           DUE SEIU         77.74
                                                                                           CO!?E             4.62
                                                                                           VOL BENS         25.67
                                                                                           MEALS            11.53
     1574B3 ANGHEL, ANTONIA                   05/0B/20 25274149 A.C.H         2,219.16            33B.64             510.50     174.76      1,261.88
                   Hours,
Earnings           Units             Amount Tax Ded               Amount       Taxable     Other Ded       Amount     Cpy Ded   Amount       Taxable
LT SICK            39.10           2,111.02 FEDERAL               131. 01     1,784.15     403 (b) %       332.B7    FICA SS    131. 26     2, 117. 02
GTL                                  lOB.14 FICA SS               131. 26     2' 117. 02   DENTAL           49.63    FICA HI     30.70      2, 117. 02
                                            FICA HI                30.70      2,117.02     LIFE             45.32    SUI CA
                                            STATE CA               25.5B      1,784.15     LTD,              5.79    LIFE CMP     6.07
                                            SDI CA                 20. 09     2,00B.88     AD&D              1.40    LTD CM!?     6.26
                                                                                           Sl?LIFE           2.9B    AD&D CMP      .47
                                                                                           DUE SEIU         42.22
                                                                                           COPE              4.62
                                                                                           VOL BENS         25.67
     157483 ANGHEL, ANTONIA                   05/15/20 253174B9 A.C.H           119.9B             39.55              lB.00       9.lB            62.43
                   Hours,
Earnings           Units                 Amount Tax Ded           Amount       Taxable Other Ded           Amount Cpy Ded       Amount       Taxable
RETRO                                     5l.B3 FEDERAL            22.44        101. 98 403(b)%             lB.00 FICA SS         7.44        119. 98
RETRO NP                                  68.15 FICA SS             7.44        119.98                            FICA HI         1. 74       119. 9B
                                                FICA HI             1. 74       119.9B                            SUI CA
                                                STATE CA            6. 73       101. 9B
                                                SDI CA              1.20        119.9B
     157483 ANGHEL, ANTONIA                   05/22/20 25333760 A.C.H        1,812.56             254.37             441.37     143.64      1,00B.68
                   Hours,
Earnings           Units             Amount Tax Ded               Amount       Taxable     Other Ded       Amount   Cpy Ded     Amount       Taxable
LT SICK            30.95           1,704.42 FEDERAL                B9.53      1,438.54     403(b)%         271. BB FICA SS      106.04      1,710.42
GTL                                  108.14 FICA SS               106.04      1,710.42     DENTAL           49.63 FICA HI        24.80      1,'.10.42
                                            FICA HI                24.80      1,710.42     LIFE             45.32 SUI CA




                                                                                                              Community Hospital of San Bernardino 00119
                                                                                                                                                          74
                      Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 75 of 113 Page ID #:75


r   ay1 I ICI IL LJCLClll L.l~Ul'll:j
ZZ260 Date 10/08/20                              Company 100 DIGNITY HEALTH                                                                 Page    40
      Time 19:29                                 Payment Detail Listing
                                                 Date Range 01/01/15 - 10/08/20

                   Hours,
Earnings           Units                Amount Tax Ded            Amount     Taxable Other Ded              Amount      Cpy Ded    Amount     Taxable
     157483 ANGHEL, ANTONIA                  05/2~/20    25333760 A.C.H    1,812.56         254.37                     441. 37     143.64    1,008.68
                   Hours,
Earnings           Units                Amount Tax Ded            Amount     Taxable Other Ded              Amount Cpy Ded         Amount     Taxabl13
                                               STATE CA            17.98    1,438.54 LTD                      5.79 LIFE CMP          6.07
                                               SDI CA              16.02    1,602.28 AD&D                     l.40 LTD CMP           6.26
                                                                                     SPLIFE                   2.98 AD&D CMP           .47
                                                                                     DUE SEIU                34.08
                                                                                     COPE                     4.62
                                                                                     VOL BENS                25.67

     157483 ANGHEL, ANTONIA                  06/05/20 25391894 A.C.H       1,812.56             254.38                 441.37      143.65    1,008.67
                   Hours,
Earnings           Units            Amount Tax Ded               Amount      Taxable     Other Ded          Amount      _Cpy Ded   Amount     Taxable
LT SICK            30.95          1,704.42 FEDERAL                89.53     1,438.54     403 (b) %          271. 88    FICA SS     106.05    1,710.42
GTL                                 108.14 FICA SS               106.05     1, 710 .42   DENTAL              49.63     FICA HI      24.80    1, 710 .42
                                           FICA HI                24.80     1, 710 .42   LIFE                45.32     SUI CA
                                           STATE CA               17.98     1,438.54     LTD                  5.79     LIFE CMP      6.07
                                           SDICA                  16.02     1,602.28     AD&D                 l.40     LTD CMP       6.26
                                                                                         SPLIFE               2.98     AD&D CMP       .47
                                                                                         DUE SEIU            34.08
                                                                                         COPE                 4.62
                                                                                         VOL BENS            25.67

    157483 ANGHEL, ANTONIA         06/19/20 25450032 A.C.H                 1,812.56             254.38                 441.37      143.65    1,008.67
               Hours,
Earnings       Units         Amount Tax Ded          Amount                  Taxable     Other Ded          Amount      Cpy Ded    Amount     Taxable
LT SICK        30.95       1,704.42 FEDERAL           89.53                 1,438.54     403(b)%            271. 88    FICA SS     106.05    1,710.42
GTL                          108·.14 FICA SS         106.05                 1,710.42     DENTAL              49. 63    FICA HI      24.80    1,710.42
                                     FICA HI          24.80                 1,710.42     LIFE                45.32     SUI CA
                                     STATE CA         17.98                 1,438.54     LTD                  s.: 79   LIFE CMP      6.07
                                     SDI CA           16.02                 1,602.28     AD&D                 1.40     LTD CMP       6.26
                                                                                         SPLIFE               2.98     AD&D CMP       .47
                                                                                         DUE SEIU            34.08
                                                                                         COPE                 4.62
                                                                                         VOL BENS            25.67
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     157483 ANGHEL, ANTONIA                  06/26/20 25492086 A.C.H          59.61                  5.16                8. 94       4.56       45.51
                   Hours,
Earnings           Units                Amount Tax Ded            Amount     Taxable Other Ded              Amount Cpy Ded         Amount     Taxable
REGULAR                                  51. 83 FEDERAL                       . Sb. 67 403 (b) %              8.94 FICA SS           3.69       59.61
SHF3PRD                                   7.78 FICA SS              3.69        59.61                              FICA HI            .87       59.61
                                                FICA HI              .87        59.61                              SUI CA
                                                STATE CA                        50.67
                                                SDI CA               .60        59.61

     157483 ANGHEL, ANTONIA                  07/03/20 25508105 A.C.H       1,812.56             254.38                 441.37      143.65    1,008.67
                   Hours,
Earnings           Units             Amount Tax Ded               Amount     Taxable     Other Ded          Amount      Cpy Ded    Amount     Taxable
LT SICK            30.95           1,704.42 FEDERAL                89.53    1,438.54     403 (b) %          271. 88    FICA SS     106.05    1,710.42
GTL                                  108.14 FICA SS               106.05    1, 710.42    DENTAL              49.63     FICA HI      24.80    1,710.42
                                            F.ICA HI               24.80    1,710.42     LIFE                45.32     SUI CA
                                            STATE CA               17,98    1,438.54     LTD                  5.79     LIFE CMP      6.07
                                            SDICJ<                 16.02    1,602.28     AD&D                 1.40     LTD CMP       6.26




                                                                                                               Community Hospital of San Bernardino 00120
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r   CIYI 1 ICI IL LJCLClll L.l~Lll I~
ZZ260 Date 10/08/20                              Company 100 DIGNITY HEALTH                                                              Page    41
      Time 19 :29                                Payment Detail Listing
                                                 Date Range 01/01/15 - 10/08/20

                   Hours,
Earnings _         Units                Amount Tax Ded         Amount        Taxable Other Ded           Amount     Cpy Ded   Amount       Taxable
   157483 ANGHEL, ANTONIA                    07/03/20 25508105 A.C.H       1,812.56         254.38                 441.37     143.65      1,008.67
              Hours,
Earnings      Units                     Amount Tax Ded         Amount        Taxable Other Ded           Amount Cpy Ded       Amount       Taxable
                                                                                     SPLIFE                2.98 AD&D CMP         .47
                                                                                     DUE SEIU             34.08
                                                                                     COPE                  4.62
                                                                                     VOL BENS             25.67

      157483 ANGHEL, ANTONIA                 07/17/20 25567224 A.C.H       1,812.57             254.38             441.38     143.64      1,008.67
                   Hours,
Earnings           Units                Amount Tax Ded         Amount        Taxable     Other Ded       Amount     Cpy Ded   Amount       Taxable
PTO                 4.78            263.24 FEDERAL              89.53       1,438.54     403(b)%         271. 89   FICA SS    106.04      1,710.43
LT SICK            26.17          1,441.19 FICA SS             106.04       1,710.43     DENTAL           49. 63   FICA HI     24.80      1, 710 .43
GTL                                 108.14 FICA HI              24.80       1, 710 .43   LIFE             45.32    SUI CA
                                           STATE CA             17.98       1,438.54     LTD               5.79    LIFE CMP     6.07
                                           SDICA                16.03       1,602.29     AD&D              1.40    LTD CMP      6.26
                                                                                         SPLIFE            2.98    AD&D CMP      .47
                                                                                         DUE SEIU         34.08
                                                                                         COPE              4.62
                                                                                         VOL BENS         25.67

      157483 ANGHEL, ANTONIA                 07/31/20 25625112 A.C.H       1,812.56             254.38             441.37     143.65      1,008.67
                   Hours,
Earnings           Units            Amount Tax Ded             Amount        Taxable     Other Ded       Amount     Cpy Ded   Amount       Taxable
PTO                30.95          1,704.42 FEDERAL              89.53       1,438.54     403(b)%         271. 88   FICA SS    106.05      1,710.42
GTL                                 108.14 FICA SS             106.05       1,710.42     DENTAL           49.63    FICA HI     24.80      1,710.42
                                           FICA HI              24.80       1, 710 .42   LIFE             45.32    SUI CA
                                           STATE CA             17.98       1,438.54     LTD               5.79    LIFE CMP     6.07
                                           SDI CA               16.02       1,602.28     AD&D              1.40    LTD CMP      6.26
                                                                                         SPLIFE            2.98    AD&D CMP      .47
                                                                                         DUE SEIU         34.08
                                                                                         COPE              4.62
                                                                                         VOL BENS         25.67

      157483 ANGHEL, ANTONIA                 08/14/20 25682847 A.C.H       1,812 .. 56          254.38             441.37     143.65      1,008.67
                   Hours,
Earnings           Units            Amount Tax Ded             Amount        Taxable     Other Ded       Amount     Cpy Ded   Amount       Taxable
PTO                30.95          1,704.42 FEDERAL              89.53       1,438.54     403 (b) %       271. 88   FICA SS    106.05      1,710.42
GTL                                 108.14 FICA SS             106.05       1, 710 .42   DENTAL           49.63    FICA.HI     24.80      l,710.42
                                           FICA HI              24.80       l, 710 .42   LIFE             45.32    SUI CA
                                           STATE CA             17.98       1,438.54     LTD               5.79    LIFE CMP     6.07
                                           SDICA                16.02       1,602.28     AD&D              1.40    LTD CMP      6.26
                                                                                         SPLIFE            2.98    AD&D CMP      .47
                                                                                         DUE SEIU         34.08
                                                                                         COPE              4.62
                                                                                         VOL BENS         25.67
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   157483 ANGHEL, ANTONIA        08/28/20 25740711 A.C.H       2,296.63         354.68         523.66         180.67       1,310.15
                   Hours,
Earnings           Units            Amount Tax Ded             Amount        Taxable     Other Ded       Amount  Cpy Ded      Amount       Taxable
PTO                38.49          2,119.65 FEDERAL             138.91       1,850.00     403(b)%         344.49 FICA SS       136.05      2,194.49
ANNTRAIN            1.25             68.84 FICA SS             136.05       2,194.49     DENTAL           49.63 FICA HI        31.82      2,194.49
GTL                                 108.14 FICA HI              31. 82      2,194.49     LIFE             45.32 SUI CA




                                                                                                            Community Hospital of San Bernardino 00121
                                                                                                                                                       76
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ray 11 ICI IL   LJCLCJ.11 L.l<:>lll I~
ZZ260 Date 10/08/20                               Company 100 DIGNITY HEALTH                                                                 Page   42
      Time 19:29                                  Payment Detail Listing
                                                  Date Range 01/01/15 - 10/08/20

                  Hours,
Earnings          Units                  Amount Tax Ded         Amount        Taxable Other Ded          Amount     Cpy Ded       Amount       Taxable
   157483 ANGHEL, ANTONIA                     08/28/20 25740711 A.C.H       2,296.63         354. 68               523.66         180.67      1,310.15
                  Hours,
Earnings          Units                  Amount Tax Ded         Amount        Taxable Other Ded          Amount  Cpy Ded          Amount      Taxable
                                                STATE CA         27. 03      1,850.00 LTD                  5.79 LIFE CMP            6.07
                                                SDI CA           20.87       2,086.35 AD&D                 1.40 LTD CMP             6.26
                                                                                      SPLIFE               2.98 AD&D CMP             .47
                                                                                      DUE SEIU            43.76
                                                                                      COPE                 4.62
                                                                                      VOL BENS            25.67

   157483 ANGHEL, ANTONIA                     09/11/20 25798699 A.C.H       4,335.61           831. 26             859.54         336.67      2,536.67
              Hours,
Earnings          Units              Amount     Tax Ded         Amount        Taxable   Other Ded        Amount     Cpy Ded       Amount      Taxable
REGULAR           67.00            3,689.69     FEDERAL         346.88       3,583.13   403(b)%          650.34    FICA SS        262.48     4,233.47
WEEKENDF          12.00                3.60     FICA SS         262.48       4,233.47   DENTAL            49.63    FICA HI         61.39     4,233.47
GTL                                  108.14     FICA HI          61. 39      4,233.47   LIFE              45.32    SUI CA
SHF2PRD             7.00              38.55     STATE CA        119.26       3,583.13   LTD                5.79    LIFE CMP         6.07
SHF3PRD            60.00             495.63     SDI CA           41.25       4,125.33   AD&D               1.40    LTD CMP          6.26
                                                                                        SPLIFE             2.98    AD&D CMP          .47
                                                                                        DUE SEIU          73. 79
                                                                                        COPE               4.62
                                                                                        VOL BENS          25.67

   157483 ANGHEL, ANTONIA                     09/25/20 25856658 A.C.H       4,572.41           902.38              900.57         354.78      2,661.32
                  Hours,
Earnings          Units               Amount    Tax Ded         Amount        Taxable   Other Ded        Amount     Cpy Ded       Amount      Taxable
REGULAR           60.00            3 ,304 .20   FEDERAL         384.24       3,784.41   403(b)%          685.86    FICA SS        277.16     4,470.27
CONT ED           12.00               660.84    FICA SS         277.16       4,470.27   DENTAL            49.63    FICA HI         64 .82    4,470.27
WEEKENDF          12.00                 3.60    FICA HI          64.82       4,470.27   LIFE              45.32    SUI CA
GTL                                   108.14    STATE CA        132.54       3,784.41   LTD                5.79    LIFE CMP         6.07
SHF3PRD            60.00              495.6:3   SDI CA           43.62       4,362.13   AD&D               1.40    LTD CMP          6.26
                                                                                        SPLIFE             2.98    AD&D CMP          .47
                                                                                        DUE SEIU          79.30
                                                                                        COPE               4.62
                                                                                        VOL BENS          25.67

Totals Employee                 157483                                    607,106.24       126,070.79       121,479.72        160,874.65    349,084.89
                  Hours,
Earnings          Units                  Amount Tax Ded         Amount        Taxable   Other Ded        Ambunt     Cpy Ded       Amount       Taxable
REGULAR         8006. 25         405,157.54     FEDERAL      57,409.42     500,596.09   403(b)%      61,429.42     FICA SS     36,683.06    591,662.08
PRECEPT           43.50               43.50     FICA SS      36,683.06     591,662.08   403 (b) %J   29,636.57     FICA HI      8,579.11    591,662.08
PTO             1470', l 7        74,479 .21    FICA HI       8,579.11     591,662.08   DENTAL       10, 171. 04   FUTA                      35,000.00
LT SICK          379.06           20,362.29     STATE CA     17,896.88     500,596.09   LIFE          4,279.38     SUI CA                    42,000.00
PTO LC           '67.50            3,528.99     SDI CA        5,502.32     581,191.24   LTD              766.32    TRAIN CA                  35,000.00
JURY              12.00              592.63                                             AD&D             227.42    40l(a)%A     2,963.72
UNSCHPTO          24.00            1,295.77                                             SPLIFE           447.00    LIFE CMP       721. 48
CONT ED          100.00            5,250.55                                             CHLIFE            48.00    LTD CMP        825.90
ANNTRAIN          30.50            1,521.21                                             DUE SEIU      9,937.44     AD&D CMP        76.22
EDUC               6 .25             313.57                                             COPE             485.10    BENCOST    111,025.16
RETRO                                 51. 83                                            VOL BENS      3,850.50
RETRO NP                              68.15                                             AUXILLRY
OVT                28.00           2,092.31                                             EDUC PAY         190.00
DT 2.0              8.50             895.32                                             MEALS             11.53




                                                                                                            Community Hospital of San Bernardino 00122
                                                                                                                                                     77
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L-11 ltJIUJCC VI ICv"'    v    LUU
ZR806 Date 10/13/20                                               Employee Check Stub                                                                  Page     142
      Time 11 :27                               Last-4 8424       Employee:         157483 - ANGHEL, ANTONIA
                                                                  Payment Type: ACH
Corporate Address       0100    DIGNITY COMMUNITY CARE               - 185 BERRY ST.                           SAN FRANCISCO         CA 94107
Service Ctr Address 110         DIGNITY HEALTH CORP SERVICES         - 3033 NORTH 3RD AVENUE                   PHOENIX               AZ 85013
Facility Address        373     COMMUNITY HOSP SAN BERNARDINO        - 1805 MEDICAL CENTER DRIVE               SAN BERNARDINO        CA 92411
Payment Date 04/24/20         Payment Number 25216435    Pay Period 04/05/20 - 04/18/20            Gross Pay          4,387.77    Net Pay          2,552.76
---------------------------------- Hours and Pay ------------------------------                     ------------------ Deductions
Pay Sum Payment                                                    Worked     Current Process       Ded Deduction                           Paid    Current
 Group    Description                           Rate     Hours      Hours      Amount Level         Code Description                         By      Amount
-------
  100
          -------------------------- ----------
          REGULAR                       53.9902
                                                        ------- -------
                                                         48. 00     48.00
                                                                            ---------
                                                                              2591. 53
                                                                                         -------
                                                                                         373       DOOO   403 (b) %                      Empl        658.17
  307     WEEKENDF                             .3000     12.00                   3.60    373       TCOl   STATE CA                       Empl        122.19
  355     SHF3PRD                             8.0985     48. 00                388.73    373       TC02   SDICA                          Empl         41. 78
  400     GTL                                                                  108.14    373       TFOl   FEDERAL                        Empl        352.20
  524     uNSCHPTO                           53.9904     24.00                1295. 77   373       TF02   FICA SS                        Empl        265. 71
                                                                                                   TF04   FICA H.I                       Empl         62.14
                                                                                                   UlOO   DUE SEIU                       Empl          77. 74
                                                                                                   Ul55   COPE                           Empl          4.62
                                                                                                   W020   DENTAL                         Empl         49.63
                                                                                                   W030   LIFE                           Empl         45.32
                                                                                                   W040   LTD                            Empl          5.79
                                                                                                   W050   AD&D                           Empl          1.40
                                                                                                   W080   SPLIFE                         Empl          2.98
                                                                                                   W500   VOL BENS                       Empl         25.67
                                                                                                   X054   MEALS                          Empl         11.53
                                                                                  Total Worked Hours           48.00         Total Deductions       1726.87




                                                                                                                Community Hospital of San Bernardino 00169
                                                                                                                                                                      78
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ZR806 Date l0/l3/20                                              Employee Check Stub                                                               Page    143
      Time ll :27                              Last-4 8424       Employee:         157483 - ANGHEL, ANTONIA
                                                                 Payment Type: ACH

Corporate Address      OlOO    DIGNITY COMMUNITY CARE               - 185 BERRY ST.                          SAN FRANCISCO         CA 94107
Service Ctr Address llO        DIGNITY HEALTH CORP SERVICES         - 3033 NORTH 3RD AVENUE                  PHOENIX               AZ 85013
Facility Address       373     COMMUNITY HOSP SAN BERNARDINO        - 1805 MEDICAL CENTER DRIVE              SAN BERNARDINO        CA 924ll
Payment Date 06/26/20        Payment Number 25492086     Pay Period 04/05/20 - 04/18/20          Gross Pay             59.61    Net Pay           45.51

---------------------------------- Hours and Pay ------------------------------                   ------------------ Deductions
Pay Sum Payment                                                  Worked      Current Process     Ded Deduction                            Paid   Current
 Group Description                             Rate     Hours      Hours      Amount Level       Code Description                          By     Amount
-------
  lOO
          -------------------------- ----------
          REGULAR                       55 .. 070.0
                                                       ------- -------
                                                        48. 00    48. 00
                                                                           ---------
                                                                             2643.36
                                                                                       -------
                                                                                      373        DODO   403 (b) %                      Empl         8.94
  lOO     REGULAR                           53.9902     48.00-    48.00-     259l.53- 373        TCOl   STATE CA                       Empl
  355     SHF3PRD                            8.2606     48.00                 396 .5l 373        TC02   SDICA                          Empl          .60
  355     SHF3PRD                            8.0985     48.00-                388.73- 373        TFOl   FEDERAL                        Empl
                                                                                                 TF02   FICA SS                        Empl         3.69
                                                                                                 TF04   FICA HI                        Empl          .87
                                                                                 Total Worked Hours                        Total Deductions       14.lO




                                                                                                             Community Hospital of San Bernardino 00170
                                                                                                                                                                 79
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ZR806 Date 10/13/20                                             Employee Check Stub                                                               Page     144
      Time 11:27                               Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                                Payment Type: ACH
Corporate Address      0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                        SAN FRANCISCO         CA 94107
Service Ctr Address 110        DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE                PHOENIX               AZ 85013
Facility Address       373      COMMUNITY HOSP SAN BERNARDINO      - 1805 MEDICAL CENTER DRIVE            SAN BERNARDINO        CA 92411
Payment Date 05/08/20        Payment Number 25274149    Pay Period 04/19/20 - 05/02/20        Gross Pay          2,219.16    Net Pay          1,261.88
---------------------------------- Hours and Pay ------------------------------                ------------------ Deductions
Pay Sum Payment                                                 Worked     Current Process     Ded Deduction                           Paid    Current
 Group   Description                           Rate     Hours     ~ours     Amount Level       Code Description                         By      Amount
  400    GTL
                                         ---------- -------     -------   --------- -------
                                                                             108.14 373       DODO   403 (b) %                      Empl        332.87
  504    LT SICK                            53.9903     39.10              2111.02   373      TCOl   STATE CA                       Empl         25.58
                                                                                              TC02   SDICA                          Empl         20.09
                                                                                              TFOl   FEDERAL                        Empl        131. 01
                                                                                              TF02   FICA SS                        Empl        131. 26
                                                                                              TF04   FICA HI                        Empl         30.70
                                                                                              UlOO   DUE SEIU                       Empl         42.22
                                                                                              UlSS   COPE                           Empl          4.62
                                                                                              W020   DENTAL                         Empl         49.63
                                                                                              W030   LIFE                           Empl         45.32
                                                                                              W040   LTD                            Empl          5.79
                                                                                              W050   AD&D                           Empl          1.40
                                                                                              W080   SPLIFE                         Empl          2.98
                                                                                              WSOO   VOL BENS                       Empl         25.67
                                                                                Total Worked Hours                      Total Deductions         849 .14




                                                                                                          Community Hospital of San Bernardino 00171
                                                                                                                                                                 80
                   Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 81 of 113 Page ID #:81


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ZR806 Date 10/13/20                                            Employee Check Stub                                                            Page    145
      Time 11:27                              Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                               Payment Type: ACH
Corporate Address     0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                       SAN FRANCISCO       CA 94107
Service Ctr Address 110       DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE               PHOENIX             AZ 85013
Facility Address      373     COMMUNITY HOSP SAN BERNARDINO       - 1805 MEDICAL CENTER DRIVE           SAN BERNARDINO      CA 92411
Payment Date 05/15/20       Payment Number 25317489    Pay Period 04/19/20 - 05/02/20       Gross Pay          119.98    Net Pay            62.43

---------------------------------- Hours and Pay ------------------------------              ------------------ Deductions
Pay Sum Payment                                                Worked    Current Process    Ded Deduction                          Paid    Current
 Group Description                            Rate     Hours    Hours     Amount Level      Code Description                        By      Amount
  720   RETRO                                                              38.87    373      DOOO
                                                                                                    --------------------------
                                                                                                    403(b)%                        Empl
                                                                                                                                          ---------
                                                                                                                                              18.00
  720   RETRO                                                              12.96    373      TCOl   STATE CA                       Empl       6.73
  721   RETRO NP                                                           51.84    373      TC02   SDI CA                         Empl       1.20
  721   RETRO NP                                                           16.31    373      TFOl   FEDERAL                        Empl      22.44
                                                                                             TF02   FICA SS                        Empl       7.44
                                                                                             TF04   FICA HI                        Empl       1. 74
                                                                             Total Worked Hours                     Total Deductions         57.55




                                                                                                         Community Hospital of San Bernardino 00172
                                                                                                                                                            81
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ZR806 Date 10/13/20                                                Employee Check Stub                                                                 Page     146
      Time 11 :27                                 Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                                   Payment Type: ACH
Corporate Address         0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                           SAN FRANCISCO        CA 94107
Service Ctr Address 110           DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE                   PHOENIX              AZ 85013
Facility Address          373      COMMUNITY HOSP SAN BERNARDINO      - 1805 MEDICAL CENTER DRIVE               SAN BERNARDINO       CA 92411
Payment Date 05/22/20           Payment Number 25333760     Pay Period 05/03/20 - 05/16/20          Gross Pay         1,812.56    Net Pay          1,008.68
---------------------------------- Hours and Pay ------------------------------                      ------------------     Deductions   ----------------
Pay Sum Payment                                                     Worked      Current Process      Ded Deduction                          Paid     Current
 Group      Description                           Rate     Hours     HoU.rs      Amount Level        Code Description                        By       Amqunt
                                            ----------    ------- -------     ---------
                                                                                 108.14
                                                                                          -------
                                                                                          373       DODO
                                                                                                           --------------------------
                                                                                                           403(b)%                        Empl
                                                                                                                                                   ---------
                                                                                                                                                      271. 88
   400     GTL
   504     LT SICK                             55.0701     30.95               1704.42    373       TCOl   STATE CA                       Empl         17.98
                                                                                                    TC02   SDI CA                         Empl         16.02
                                                                                                    TFOl   FEDERAL                        Empl         89. 53
                                                                                                    TF02   FICA SS                        Empl        106.04
                                                                                                    TF04   FICA HI                        Empl         24.80
                                                                                                    UlOO   DUE SEIU                       Empl         34.08
                                                                                                    0155   COPE                           Empl          4.62
                                                                                                    W020   DENTAL                         Empl         49. 63
                                                                                                    W030   LIFE                           Empl         45 .32
                                                                                                    W040   LTD                            Empl          5.79
                                                                                                    W050   AD&D                           Empl          1.40
                                                                                                    W080   SPLIFE                         Empl          2.98
                                                                                                    W500   VOL BENS                       Empl         25.67
                                                                                    Total Worked Hours                       Total Deductions         695.74




                                                                                                                Community Hospital of San Bernardino 00173
                                                                                                                                                                      82
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ZR806 Date 10/13/20                                                       Employee Check Stub                                                                     Page     147
      Time 11:27                                        Last-4 8424       Employee:         157483         ~   ANGHEL, ANTONIA
                                                                          Payment Type: ACH
Corporate Address          0100    DIGNITY COMMUNITY CARE                     - 185 BERRY ST.                              SAN FRANCISCO        CA 94107
Service Ctr Address 110            DIGNITY HEALTH CORP SERVICES               - 3033 NORTH 3RD AVENUE                      PHOENIX              AZ 85013
Facility Address           373     COMMUNITY HOSP SAN BERNARDINO              - 1805 MEDICAL CENTER DRIVE                  SAN BERNARDINO       CA 92411
Payment Date 06/05/20            Payment Number 25391894         Pay Period 05/17/20 - 05/30/20                Gross Pay         l,812.56    Net Pay          l,008.67
--- -- -- ---- -------- - - ------ ---- -- - Hours and Pay -- - - - - - - - - - - - - - - - - -------- -----    ------------------     Deductions   ----------------
Pay Sum Payment                                                            Worked      Current Process          Ded Deduction                          Paid     Current
 Group Description                                      Rate     Hours      Hours       Amount Level            Code Description                        By       Amount
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                                                                   108.14 373                                  DOOO
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                                                                                                                      403(b)%                        Empl
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                                                                                                                                                                 271. 88
  504     LT SICK                                  55.0701       30.95                 1704.42      373        TCOl   STATE CA                       Empl         17.98
                                                                                                               TC02   SDI CA                         Empl         16.02
                                                                                                               TFOl   FEDERAL                        Empl         89.53
                                                                                                               TF02   FICA SS                        Empl        106.05
                                                                                                               TF04   FICA HI                        Empl         24.80
                                                                                                               UlOO   DUE SEIU                       Empl         34.08
                                                                                                               Ul55   COPE                           Empl          4.62
                                                                                                               W020   DENTAL                         Empl         49.63
                                                                                                               W030   LIFE                           Empl         45.32
                                                                                                               W040   LTD                            Empl          5.79
                                                                                                               WOSO   AD&D                           Empl          l.40
                                                                                                               W080   SPLIFE                         Empl          2.98
                                                                                                               W500   VOL BENS                       Empl         25.67
                                                                                             Total Worked Hours                        Total Deductions          695.75




                                                                                                                           Community Hospital of San Bernardino 00174
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                    Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 84 of 113 Page ID #:84


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ZR806 Date 10/13/20                                            Employee Check Stub                                                            Page     148
      Time 11:27                              Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                               Payment Type: ACH
Corporate Address     0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                       SAN FRANCISCO       CA 94107
Service Ctr Address 110       DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE               PHOENIX            AZ 85013
Facility Address      373     COMMUNITY HOSP SAN BERNARDINO       - 1805 MEDICAL CENTER DRIVE           SAN BERNARDINO      CA 92411
Payment Date 06/19/20       Payment Number 25450032    Pay Period 05/31/20 - 06/13/20       Gross Pay      1,812.56      Net Pay          1,008.67
---------------------------------- Hours and Pay ------------------------------              ------------------   Deductions   ----------------
Pay Sum Payment                                                Worked    Current Process     Ded Deduction                         Paid     Current
 Group Description                            Rate     Hours    Hours     Amount Level       Code Description                       By       Amount
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                                                                   108.14 373               DODO
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                                                                                                   403(b)%                      Empl
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                                                                                                                                             271. 88
  504     LT SICK                          55.0701     30.95             1704.42    373     TCOl   STATE CA                     Empl          17.98
                                                                                            TC02   SDI CA                       Empl          16.02
                                                                                            TFOl   FEDERAL                      Empl          89.53
                                                                                            TF02   FICA SS                      Empl         106.05
                                                                                            TF04   FICA HI                      Empl          24.80
                                                                                            UlOO   DUE SEIU                     Empl          34.08
                                                                                            Ul55   COPE                         Empl           4 .62
                                                                                            W020   DENTAL                       Empl          49.63
                                                                                            W030   LIFE                         Empl          45.32
                                                                                            W040   LTD                          Empl           5.79
                                                                                            W050   AD&D                         Empl           1..40
                                                                                            W080   SPLIFE                       Empl           2.98
                                                                                            W500   VOL BENS                     Empl          25.67
                                                                             Total Worked Hours                   Total Deductions           695.75




                                                                                                         Community Hospital of San Bernardino 00175
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ZR806 Date 10/13/20                                                 Employee Check Stub                                                                 Page     149
      ·Time 11 :27                                 Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                                    Payment Type: ACH
Corporate Address          0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                          SAN FRANCISCO         CA   94107
Service Ctr Address 110            DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE                  PHOENIX               AZ 85013
Facility Address           373     COMMUNITY HOSP SAN BERNARDINO       - 1805 MEDICAL CENTER DRIVE              SAN BERNARDINO        CA 92411
Payment Date 07/03/20            Payment Number 25508105    Pay Period 06/14/20 - 06/27/20          Gross Pay          1,812.56    Net Pay          1,008.67
---------------------------------- Hours and Pay ------------------------------                      ------------------      Deductions    ----------------
Pay Sum Payment                                                      Worked    Current Process      Ded Deduction                            Paid     Current
 Group Description                                 Rate     Hours     Hours     Amount Level        Code Description                          By       Amount
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                                                                                          373        DOOO
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                                                                                                            403(b)%                         Empl
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                                                                                                                                                       271. 88
  504     LT SICK                               55.0701     30.95               1704.42   373        TCOl   STATE CA                        Empl        17.98
                                                                                                     TC02   SDI CA                          Empl        16.02
                                                                                                     TFOl   FEDERAL                         Empl        89.53
                                                                                                     TF02   FICA SS                         Empl       106.05
                                                                                                     TF04   FICA HI                         Empl        24.80
                                                                                                    UlOO    DUE SEIU                        Empl        34.08
                                                                                                    Ul55    COPE                            Empl         4 .62
                                                                                                    W020    DENTAL                          Empl        49.63
                                                                                                    W030    LIFE                            Empl        45.32
                                                                                                    W040    LTD                             Empl         5.79
                                                                                                    W050    AD&D                            Empl         l.40
                                                                                                    wo00    SPLIFE                          Empl         2.98
                                                                                                    W500    VOL BENS                        Empl        25.67
                                                                                    Total Worked Hours                        Total Deductions         695.75




                                                                                                                 Community Hospital of San Bernardino 00176
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                    Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 86 of 113 Page ID #:86


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ZR806 Date 10/13/20                                             Employee Check Stub                                                                Page     150
        Time 11 :27                           Last-4 8424       Employee:         157483 - ANGHEL, ANTONIA
                                                                Payment Type: ACH
Corporate Address     0100    DIGNITY COMMUNITY CARE               - 185 BERRY ST.                          SAN FRANCISCO        CA 94107
Service Ctr Address 110       DIGNITY HEALTH CORP SERVICES         - 3033 NORTH 3RD AVENUE                  PHOENIX              AZ 85013
Facility Address      373     COMMUNITY HOSP SAN BERNARDINO        - 1805 MEDICAL CENTER DRIVE              SAN BERNARDINO       CA 92411
Payment Date 07/17/20       Payment Number 25567224     Pay Period 06/28/20 - 07/11/20          Gross Pay         1,812.57    Net Pay          1,008.67
---------------------------------- Hours and Pay ------------------------------                  ------------------     Deductions   ----------------
Pay Sum Payment                                                 Worked      Current Process      Ded Deduction                          Paid     Current
 Group ·oescription                           Rate      Hours    Hours       Amount Level        Code Description                        By       Amount
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                                                                                                       403(b)%                        Empl
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                                                                                                                                                  271. 89
  500     PTO                              55. 0711      4.78               263.24    373       TCOl   STATE CA                       Empl         17.98
  504     LT SICK                          55.0703      26.17              1441.19    373       TC02   SDI CA                         Empl         16.03
                                                                                                TFOl   FEDERAL                        Empl         89.53
                                                                                                TF02   FICA SS                        Empl        106. 04
                                                                                                TF04   FICA HI                        Empl         24.80
                                                                                                UlOO   DUE SEIU                       Empl         34.08
                                                                                                0155   COPE                           Empl          4 .62
                                                                                                wo20   DENTAL                         Empl         49.63
                                                                                                W030   LIFE                           Empl         45.32
                                                                                                W040   LTD                            Empl          5.79
                                                                                                W050   AD&D                           Empl          1.40
                                                                                                W080   SPLIFE                         Empl          2.98
                                                                                                W500   VOL BENS                       Empl         25.67
                                                                                Total Worked Hours                      Total Deductions          695.76




                                                                                                            Community Hospital of San Bernardino 00177
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ZR806 Date 10/13/20                                                Employee Check Stub                                                               Page     151
      Time 11:27                                  Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                                   Payment Type: ACH
Corporate Address         0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                          SAN FRANCISCO       CA 94107
Service Ctr Address 110           DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE                  PHOENIX             AZ 85013
Facility Address          373     COMMUNITY HOSP SAN BERNARDINO       - 1805 MEDICAL CENTER DRIVE              SAN BERNARDINO      CA 924U
Payment Date 07/31/20           Payment Number 25625112     Pay Period 07/12/20 - 07/25/20         Gross Pay         1,812.56   Net Pay          1,008.67
---------------------------------- Hours and Pay ------------------------------                     ------------------    Deductions   ----------------
Pay Sum Payment                                                     Worked    Current Process      Ded Deduction                          Paid     Current
 Group Description                                Rate     Hours     Hours     Amount    Level     Code Description                        By       Amount
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                                                                                         373       DOOO
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                                                                                                          403(b)%                       Empl
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                                                                                                                                                    271. 88
  500     PTO                                  55.0701     30.95              1704.42    373       TCOl   STATE CA                      Empl         17.98
                                                                                                   TC02   SDI CA                        Empl         16.02
                                                                                                   TFOl   FEDERAL                       Empl         89.53
                                                                                                   TF02   FICA SS                       Empl        106.05
                                                                                                   TF04   FICA HI                       Empl         24.80
                                                                                                   UlOO   DUE SEIU                      Empl         34.08
                                                                                                   Ul55   COPE                          Empl          4 .62
                                                                                                   W020   DENTAL                        Empl         49.63
                                                                                                   W030   LIFE                          Empl         45.32
                                                                                                   W040   LTD                           Empl          5.79
                                                                                                   W050   AD&D                          Empl          l.40
                                                                                                   W080   SPLIFE                        Empl          2.98
                                                                                                   W500   VOL BENS                      Empl         25.67
                                                                                   Total Worked Hours                      Total Deductions         695.75




                                                                                                                Community Hospital of San Bernardino 00178
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                   Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 88 of 113 Page ID #:88


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ZR806 Date 10/13/20                                             Employee Check Stub                                                             Page     152
      Time 11 :27                              Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                                Payment Type: ACH
Corporate Address      0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                       SAN FRANCISCO        CA 94107
Service Ctr Address 110        DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE               PHOENIX              AZ 85013
Facility Address       373     COMMUNITY HOSP SAN BERNARDINO       - 1805 MEDICAL CENTER DRIVE           SAN BERNARDINO       CA 92411
Payment Date 08/14/20        Payment Number 25682847    Pay Period 07/26/20 - 08/08/20       Gross Pay         1,812.56    Net Pay          1,008.67
---------------------------------- Hours and Pay ------------------------------               ------------------     Deductions   ----------------
Pay Sum Payment                                                 Worked    Current Process     Ded Deduction                          Paid    Current
 Group   Description                           Rate     Hours     Hours    Amount Level       Code Description                        By      Amount
  400    GTL
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                                                                       108.14 373            DODO
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                                                                                                    403(b)%                        Empl
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                                                                                                                                               271. 88
  500    PTO                                55.0701     30.95             1704.42    373     TCOl   STATE CA                       Empl         17.98
                                                                                             TC02   SDI CA                         Empl         16.02
                                                                                             TFOl   FEDERAL                        Empl         89.53
                                                                                             TF02   FICA SS                        Empl        106.05
                                                                                             TF04   FICA HI                        Empl         24.80
                                                                                             UlOO   DUE SEIU                       Empl         34.08
                                                                                             U155   COPE                           Empl          4.62
                                                                                             W020   DENTAL                         Empl         49. 63
                                                                                             W030   LIFE                           Empl         45.32
                                                                                             W040   LTD                            Empl          5.79
                                                                                             W050   AD&D                           Empl          1.40
                                                                                             wo8o   SPLIFE                         Empl          2.98
                                                                                             W500   VOL BENS                       Empl         25.67
                                                                              Total Worked Hours                      Total Deductions         695.75




                                                                                                         Community Hospital of San Bernardino 00179
                                                                                                                                                           88
                     Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 89 of 113 Page ID #:89


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ZR806 Date 10/13/20                                             Employee Check Stub                                                                  Page    153
      Time 11 :27                              Last-4 8424      Employee:         157483 - ANGHEL, ANTONIA
                                                                Payment Type: ACH
Corporate Address      0100    DIGNITY COMMUNITY CARE              - 185 BERRY ST.                           SAN FRANCISCO         CA 94107
Service Ctr Address 110        DIGNITY HEALTH CORP SERVICES        - 3033 NORTH 3RD AVENUE                   PHOENIX               AZ 85013
Facility Address       373     COMMUNITY HOSP SAN BERNARDINO       - 1805 MEDICAL CENTER DRIVE               SAN BERNARDINO        CA 92411
Payment Date 08/28/20        Payment Number 25740711     Pay Period 08/09/20 - 08/22/20          Gross Pay          2,296.63    Net Pay          1,310.15
---------------------------------- Hours and Pay ------------------------------                   ------------------ Deductions
Pay Sum Payment                                                  Worked     Current Process       Ded Deduction                           Paid     Current
 Group Description                             Rate     Hours     Hours      Amount Level         Code Description                         By      Amount
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                                                                                       373       DODO   403 (b) %                      Empl        344.49
  500     PTO                               55.0701     38.49               2119. 65   373       TCOl   STATE CA                       Empl         27. 03
  603     ANNTRAIN                          55. 0720     1.25      1.25       68.84    373       TC02   SDICA                          Empl         20.87
                                                                                                 TFOl   FEDERAL                        Empl        138.91
                                                                                                 TF02   FICA SS                        Empl        136.05
                                                                                                 TF04   FICA HI                        Empl         31.82
                                                                                                 UlOO   DUE SEIU                       Empl         43.76
                                                                                                 Ul55   COPE                           Empl          4 .62
                                                                                                 W020   DENTAL                         Empl         49.63
                                                                                                 W030   LIFE                           Empl         45.32
                                                                                                 W040   LTD                            Empl          5.79
                                                                                                 W050   AD&D                           Empl          1.40
                                                                                                 W080   SPLIFE                         Empl          2.98
                                                                                                 W500   VOL BENS                       Empl         25.67
                                                                                Total Worked Hours            1.25         Total Deductions         878.34




                                                                                                             Community Hospital of San Bernardino 00180
                                                                                                                                                                   89
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                   EXHIBIT “G”
                                                                         90
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1     THE HAHN LEGAL GROUPAPC
      ADRIENNE R. HAHN, SBN 136569
2     ahahn@hahnlegalgroup.com
      ADAM C. ZAMOST, SBN 305655
3     azamost@hahnlegalgroup.com
      2361 Rosecrans Avenue, Suite 373
4     El Segundo, California 90245
      T:(310)706-3400/F:(310)706-3440
5
6     Attorneys for Defendant
      TARGET CORPORATION
7

8
                            UNITED STATES DISTRICT COURT

9            CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10

11
       ANTONIA ANGHEL                          CASE NO: 5:20-cv-02671
12
                     Plaintiff,                The Hon.
13                                             Magistrate Judge:
           vs.
14                                             DECLARATION OF ADRIENNE R.
       TARGET CORPORATION and                  HAHN
15     DOES 1 TO 50, Inclusive.

16                   Defendants.

17

18

19    I, ADRIENNE R. HAHN, certify and declare as follows:
20          1.     I am an attorney duly licensed to practice law in the State of
21    California and before this Honorable Court. I am a Partner at The Hahn Legal
22    GroupAPC, counsel of record for Defendant TARGET CORPORATION.
23          2.     My business address is 2361 Rosecrans Avenue, Suite 373, El
24    Segundo, California 90245, which is located in the city, county and state where the
25    mailing described below took place.
26          3.     I have personal knowledge of the following facts and would and could
27    testify to them if called upon to do so, with the exception of those matters stated on
28

                                                             DECLARATION OF ADRIENNE R.
                                                                HAHN Case No. 5:20-cv-02671
                                                                                          91
                                              Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 92 of 113 Page ID #:92




                                               1   information and belief, and as to those matters I believe them to be true.
                                               2         4.     Plaintiff ANTONIA ANGHEL (“Plaintiff”) resides in California. A
                                               3   true and correct copy of the conformed Complaint, which was filed in the Superior
                                               4   Court of California, County of San Bernardino, is attached as Exhibit “A” to
                                               5   TARGET CORPORATION’S Notice of Removal of Action.
                                               6         5.     Defendant TARGET CORPORATION (“Defendant”) is a Minnesota
                                               7   corporation with its principal place of business in Minnesota. A true and correct
                                              8    copy of the Statement of Information for Defendant filed with the Secretary of
                                               9   State is attached hereto as Exhibit “1.”
                                              10         6.     Target received a copy of the Summons and Complaint after it was
                                              11   served on Target’s California agent for service of process on February 7, 2020.
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                              12                On March 6, 2020, Target filed its Answer to Plaintiff’s Complaint. A
    THE HAHN LEGAL GROUP APC




                                                         7.
    2361 Rosecrans Avenue, Suite 373
        El Segundo, California 90245




                                              13   true and correct copy of the Answer is attached hereto as Exhibit “2.”
                                              14         8.     Plaintiff served a Statement of Damages on April 22, 2022, that
                                              15   outlined past damages totaling only $34,195.46. While Plaintiff alleged damages
                                              16   for future medical expenses, future loss of earnings, and loss of earning capacity
                                              17   according to proof, the stated damages at that time did not meet the amount in
                                              18   controversy requirement for removal to federal court.
                                              19         9.     Plaintiff initially responded to Target’s Form Interrogatories on April
                                              20   22, 2020. Her responses to Form Interrogatories Nos. 6.4 and 6.5 (related to
                                              21   treatment received and medication prescribed attributed to the subject incident)
                                              22   indicated medical special damages of $14,330.63. Her response to Form
                                              23   Interrogatory No. 8.7 indicated loss of income of $21,482.46, and her response to
                                              24   Form Interrogatory No. 8.8 indicated that she would miss work in the future as she
                                              25   was scheduled to have surgery.
                                              26         10.    Plaintiff has since supplemented her responses to Plaintiff’s Form
                                              27   Interrogatories Nos. 6.4 and 6.5 several times, including on April 29, 2020, May
                                              28
                                                                                              2
                                                                                                           DECLARATION OF ADRIENNE R.
                                                                                                              HAHN Case No. 5:20-cv-02671
                                                                                                                                   92
                                              Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 93 of 113 Page ID #:93




                                               1   28, 2020, June 17, 2020, November 18, 2020, and December 1, 2020. Factoring in
                                               2   the supplemented information, as of December 1, 2020 Plaintiff’s total claimed
                                               3   medical special damages were $34,973.17.          These responses also indicated
                                               4   Plaintiff underwent surgery on April 16, 2020.
                                               5         11.   On December 4, my office received, in response to our subpoena,
                                               6   records from Community Hospital of San Bernardino related to Plaintiff’s
                                               7   employment therewith. The records indicated Plaintiff took time off work from
                                              8    April 15, 2020, through August 20, 2020, or approximately 18 weeks of missed
                                               9   work related to her April 16, 2020 surgery. Using the calculation Plaintiff utilized
                                              10   in her response to Form Interrogatory No. 8.7, Plaintiff’s claimed loss of earnings
                                              11   should be increased by approximately $33,624.72 ($51.89 per hour x 36 hours per
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                              12
    THE HAHN LEGAL GROUP APC




                                                   week x 18 weeks), to total $55,107.18 ($21,482.46 + $33,624.72).
    2361 Rosecrans Avenue, Suite 373
        El Segundo, California 90245




                                              13

                                              14         I declare under penalty of perjury under the laws of the United States of
                                              15   America that the foregoing is true and correct and that this Declaration is executed
                                              16   on December 30, 2020, at El Segundo, California.
                                              17
                                              18
                                                                                         ADRIENNE R. HAHN, Declarant
                                              19

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                                                                                            3
                                                                                                        DECLARATION OF ADRIENNE R.
                                                                                                           HAHN Case No. 5:20-cv-02671
                                                                                                                                 93
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                    EXHIBIT “1”
                                                                         94
               Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 95 of 113 Page ID #:95

                                                                                                           F
                               State of California
                                   Secretary of State
                               Statement of Information                                                                          FR82190
                                       (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                                  FILED
                         If this is an amendment, see instructions.                                                In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                               OCT-24 2017
     TARGET CORPORATION




2. CALIFORNIA CORPORATE NUMBER
                                                                    C0536463                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE
1000 NICOLLET MALL, TPS 3155, MINNEAPOLIS, MN 55403
6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 BRIAN C CORNELL            1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
DON H LIU         1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
CATHY R SMITH           1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 CT CORPORATION SYSTEM
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
RETAIL MERCHANDISING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 10/24/2017            DAVID L DONLIN                                             ASSISTANT SECRETARY
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                          TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE

                                                                                                                                                      95
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                    EXHIBIT “2”
                                                                         96
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                 CASE ATTACHMENT COVER PAGE                                   (ENDORSED)
                                                                     ELECTRONICALLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO                    FILED
   STREET ADDRESS:2 4 7 West Third Street
  MAILING ADDRESS:                                                  BY SUPERIOR COURT
 CITY AND ZIP CODE: San Bernardino, CA 92415                   OF CALIFORNIA, COUNTY OF
       BRANCH NAME:San Bernardino Justice Center                             San Bernardino
            WEBSITE:http: I /www. sh-court. org                         on Mar 6, 2020
                                                              CLERK OF THE SUPERIOR COURT
 ATTACHMENTNAME: Answer: Answer to Complaint
                                                             Deputy Cleric    Jacqueline Harness

 CASE NAME: ANTONIA ANGHEL vs. TARGET CORPORATION          CASE NUMBER:
                                                                         CIVDS2003337


               Please log on to www.TurboCourt.com regularly for updates

                      Please staple this to your original attachment




                                                                                                   97
     Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 98 of 113 Page ID #:98




1      THE HAHN LEGAL GROUPAPC
       ADRIENNE R. HAHN, SBN 136569
2      ahahn@hahnlegalgroup.com
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       2361 Rosecrans Avenue, Suite 373
4      El Segundo, California 90245
       T:(310)706-3400/F:(310)706-3440
5

6      Attorneys for Defendant
       TARGET CORPORATION
7

8                      SUPERIOR COURT OF THE STATE OF THE CALIFORNIA
9                   COUNTY OF SAN BERNARDINO – SAN BERNARDINO DISTRICT
10

11      ANTONIA ANGHEL                              CASE NO: CIVDS2003337
                                                    Complaint Filed: 01/31/2020
12                    Plaintiff,                    Hon. Lynn Poncin, Dept. “S28”

13         vs.
                                                    TARGET CORPORATION’S
14      TARGET CORPORATION and DOES 1               ANSWER TO COMPLAINT AND DEMAND
        TO 50, Inclusive.                           FOR JURY TRIAL
15
                     Defendants.
16

17

18
       TO: THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
19
              COMES NOW Defendant TARGET CORPORATION (“Defendant”) responds to
20
       Plaintiff ANTONIA ANGHEL’s (“Plaintiff”) Complaint as follows:
21
                                          GENERAL DENIAL
22
              1.     Under the provisions of § 431.30 of the California Code of Civil Procedure, this
23
       answering Defendant denies all and each of the allegations in the Complaint and denies that
24
       Plaintiff has suffered damages in the sum/s alleged or in any other sums, or at all. Further
25
       answering the Complaint and the whole thereof, this answering Defendant denies that Plaintiff
26
       has sustained damages or loss by reason of any act or omission on the part of this answering
27
       Defendant.
28

              TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL

                                                                                                  98
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                                               1                                  FIRST AFFIRMATIVE DEFENSE
                                               2                                       (Failure to State a Claim)
                                               3          2.      Defendant alleges that the Complaint and each and every cause of action stated
                                               4   therein fails to state a cause of action against this answering Defendant.
                                               5                                SECOND AFFIRMATIVE DEFENSE
                                               6                                  (Comparative Liability of Plaintiff)
                                               7          3.      Defendant alleges that the damages of which Plaintiff complains, if any there be,
                                              8    were directly and proximately caused and contributed to by the negligence of Plaintiff, thereby
                                               9   barring or reducing Plaintiff’s recovery herein in accordance with the provisions of applicable
                                              10   law.
                                              11                                  THIRD AFFIRMATIVE DEFENSE
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                              12
    THE HAHN LEGAL GROUP APC
    2361 Rosecrans Avenue, Suite 373




                                                                                (Comparative Liability of Third Party)
        El Segundo, California 90245




                                              13          4.      Defendant alleges that the damages of which Plaintiff complains, if any there be,
                                              14   were directly and proximately caused and contributed to by the negligence of Plaintiff and/or
                                              15   other persons or entities, thereby barring or reducing Plaintiff’s recovery herein in accordance
                                              16   with the provisions of comparative negligence and other applicable law.
                                              17                                FOURTH AFFIRMATIVE DEFENSE
                                              18                                          (Assumption of Risk)
                                              19          5.      Defendant alleges that the damages of which Plaintiff complains, if any there be,
                                              20   were directly and proximately caused and contributed to by a risk which Plaintiff knew the
                                              21   hazards of confronting and of which Plaintiff has full knowledge and appreciated the magnitude,
                                              22   but nevertheless voluntarily assumed, and Plaintiff is barred from recovery or Plaintiff’s
                                              23   recovery is reduced thereby.
                                              24                                  FIFTH AFFIRMATIVE DEFENSE
                                              25                                         (Unreasonable Actions)
                                              26          6.      Defendant is informed and believes that the unauthorized and/or unreasonable
                                              27   actions of Plaintiff and/or other persons or entities resulted in the damages set forth in the
                                              28

                                                          TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL
                                                                                                     2
                                                                                                                                                    99
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                                                1   Complaint, if any there be.
                                                2                                  SIXTH AFFIRMATIVE DEFENSE
                                                3                                           (Failure to Mitigate)
                                               4           7.      On information and belief, it is alleged that Plaintiff failed to mitigate the
                                                5   damages, if any, which Plaintiff has sustained, and has failed to exercise reasonable care to avoid
                                               6    the consequences of harm, if any, in that, among other things, Plaintiff has failed to use
                                                7   reasonable diligence in caring for any damages or property damage; failed use reasonable means
                                               8    to prevent aggravation of any damages or property damage; failed to take reasonable precautions
                                               9    to reduce any damages or property damage; failed to make reasonable expenditures which could
                                               10   have prevented the losses alleged; and has otherwise failed to prevent the existence or extent of
                                               11   damages as claimed.
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                                               12
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                                                                                    SEVENTH AFFIRMATIVE DEFENSE
        El Segundo, California 90245




                                               13                                           (Open and Obvious)
                                               14          8.      The dangerous condition alleged by the Plaintiff in the Complaint was “open and
                                               15   obvious.”
                                               16                                 EIGHTH AFFIRMATIVE DEFENSE
                                               17                                          (Comparative Fault)
                                               18          9.      Any and all events and happenings in connection with the allegations contained in
                                               19   the Complaint, and any resulting injuries and damages, were proximately caused and contributed
                                              20    to by the negligence of others; and that this Defendant’s respective liability to Plaintiff, if any, is
                                               21   proportionate only to its respective degree of negligence in comparison to all other responsible
                                              22    entities, as determined by the trier of fact pursuant to “Proposition 51” and other law.
                                              23                                   NINTH AFFIRMATIVE DEFENSE
                                              24                                  (Independent and Superseding Action)
                                               25          10.     Defendant alleges that the damages, if any, which Plaintiff has sustained, were
                                              26    caused by the intervening acts of third parties, whether intentional or negligent, that was not
                                               27   reasonably foreseeable to Defendant, which acts constitute a superseding cause that’s bars or
                                              28

                                                            TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL
                                                                                                      3
                                                                                                                                                  100
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                                                1   reduces Plaintiff’s recovery thereby.
                                                2                                  TENTH AFFIRMATIVE DEFENSE
                                                3                                                  (Waiver)
                                               4            11.     Defendant alleges that recovery under Plaintiff’s causes of action, and all of them,
                                                5   is barred or limited by the doctrine of waiver.
                                               6                                ELEVENTH AFFIRMATIVE DEFENSE
                                                7                            (Plaintiff’s Failure to Exercise Reasonable Care)
                                               8            12.     Defendant alleges that Plaintiff failed to exercise reasonable and ordinary care,
                                               9    caution, or prudence for her own safety in order to avoid the alleged accident. The resulting
                                               10   injuries and damages, if any, sustained by Plaintiff was proximately caused and contributed to by
                                               11   the negligence of Plaintiff, in that among other things, to the extent there was a hazard or
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                                               12
    THE HAHN LEGAL GROUP APC
    2361 Rosecrans Avenue, Suite 373




                                                    dangerous condition, if any, said alleged hazard or dangerous condition was caused by an act or
        El Segundo, California 90245




                                               13   omission of Plaintiff.
                                               14                                TWELFTH AFFIRMATIVE DEFENSE
                                               15                                                (No Notice)
                                               16           13.     Defendant alleges that it, including its agents, officers and/or employees, had no
                                               17   notice of the existence of any hazardous condition that allegedly existed at the time of the alleged
                                               18   incident, and even if such notice existed, that Defendant has no reasonable opportunity to remedy
                                               19   the alleged hazard, and that Plaintiff is therefore not entitled to recover in this action.
                                              20                               THIRTEENTH AFFIRMATIVE DEFENSE
                                               21                                           (Absence of Damages)
                                              22            14.     Defendant alleges that Plaintiff has suffered no damages as a result of any act of
                                              23    omission alleged in the Complaint, and that Plaintiff is entitled to no recovery thereby, and that
                                              24    Defendant is entitled to judgment in Defendant’s favor to the extent that the existence of
                                               25   damages is a necessary element of Plaintiff’s causes of action alleged against this answering
                                              26    Defendant.
                                               27   ///
                                              28

                                                            TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL
                                                                                                       4
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                                                1                            FOURTEENTH AFFIRMATIVE DEFENSE
                                                2                                            (Unclean Hands)
                                                3          15.     Defendant alleges that recovery under Plaintiff’s causes of action, and all of them,
                                                4   is barred or limited by the doctrine of unclean hands.
                                                5                              FIFTEENTH AFFIRMATIVE DEFENSE
                                                6                                                (Estoppel)
                                                7          16.     Defendant alleges that recovery under Plaintiff’s causes of action, and all of them,
                                               8    is barred or limited by the doctrine of estoppel.
                                                9                              SIXTEENTH AFFIRMATIVE DEFENSE
                                               10                                                 (Laches)
                                               11          17.     Defendant alleges that recovery under Plaintiff’s causes of action, and all of them,
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                                               12
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                                                    is barred or limited under the doctrine of laches.
        El Segundo, California 90245




                                               13                            SEVENTEENTH AFFIRMATIVE DEFENSE
                                               14                                      (Speculative and Uncertain)
                                               15          18.     Defendant alleges that recovery under Plaintiff’s causes of action, and all of them,
                                               16   is barred or limited because any damages alleged herein are speculative and uncertain.
                                               17                             EIGHTEENTH AFFIRMATIVE DEFENSE
                                               18                                            (Apportionment)
                                               19          19.     Defendant alleges that if Defendant is found to be at fault in this action, which
                                              20    Defendant denies, then the conduct, liability and/or fault of Plaintiff and/or others, whether
                                               21   named or unnamed, known or unknown, must be compared to determine the degree of fault, if
                                              22    any, among said parties, and the alleged damages sustained by Plaintiff apportioned among them,
                                              23    and that any damages award as to Defendant must be reduced or barred accordingly.
                                              24                              NINETEENTH AFFIRMATIVE DEFENSE
                                               25                            (Civil Code § 1431 et. seq. Comparative Fault)
                                              26           20.     The liability, if any, of this answering Defendant is limited by the provisions of
                                               27   Civil Code §§ 1431 through 1431.5, inclusive.
                                              28

                                                           TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL
                                                                                                         5
                                                                                                                                              102
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                                                1                              TWENTIETH AFFIRMATIVE DEFENSE
                                                2                                           (Actual Knowledge)
                                                3             21.   Defendant alleges that Plaintiff had actual knowledge of the true facts
                                               4    surrounding the subject incident herein sufficient to have acted to protect her interests. Any
                                                5   damage resulting to Plaintiff as a result of the subject incident is the result of Plaintiff failure to
                                               6    protect her interests despite this knowledge, if any damage there be.
                                                7                            TWENTY-FIRST AFFIRMATIVE DEFENSE
                                               8                                  (Reasonable Precautionary Measures)
                                               9              22.   This answering Defendant took reasonable precautionary measures to protect
                                               10   against the risk of injury or damage allegedly created by condition of property referred to in
                                               11   Plaintiff Complaint at the time and place of the alleged incident which is the subject of this
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                                               12
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    2361 Rosecrans Avenue, Suite 373




                                                    action.
        El Segundo, California 90245




                                               13                           TWENTY-SECOND AFFIRMATIVE DEFENSE
                                               14                                         (Reasonable Diligence)
                                               15             23.   Any and all duties imposed on this answering Defendant, the failure of which
                                               16   allegedly created the condition at the time and place which is the subject of this Complaint, were
                                               17   exercised with reasonable diligence, and therefore, this answering Defendant is not liable to
                                               18   Plaintiff or the alleged injuries.
                                               19                            TWENTY-THIRD AFFIRMATIVE DEFENSE
                                              20                                         (Alterations of Condition)
                                               21             24.   If, in fact, any untoward, unsafe, or defective condition existed as mentioned in
                                              22    the Complaint, which this Defendant denies, this Defendant is informed and believes that said
                                              23    untoward condition was caused and contributed to by the actions or inactions of the Plaintiff
                                              24    and/or third parties, in that said persons or entities changed and altered said condition, thereby
                                               25   barring Plaintiff right to recovery against this Defendant.
                                              26    ///
                                               27   ///
                                              28

                                                              TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL
                                                                                                      6
                                                                                                                                                  103
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                                               1                           TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                               2                                         (Adequate Warning)
                                               3           25.     Plaintiff was adequately warned of any conditions that allegedly existed at the
                                               4    time of the subject incident.
                                               5                 RESERVATION OF ADDITIONAL AFFIRMATIVE DEFENSES
                                               6           26.     Defendant alleges that it may have additional affirmative defenses available to it
                                               7    of which it is not now fully aware. Defendant reserves the right to assert additional affirmative
                                               8    defenses after the same have been ascertained.
                                               9           WHEREFORE, this answering Defendant prays that Plaintiff take nothing by way of her
                                              10    Complaint, that this answering Defendant be awarded judgment herein, that this answering
                                              11    Defendant further be awarded its costs of suit incurred herein, and further, be awarded such other
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                                              12
    THE HAHN LEGAL GROUP APC
    2361 Rosecrans Avenue, Suite 373




                                                    and further relief as the Court may deem just and proper.
        El Segundo, California 90245




                                              13
                                              14                                    DEMAND FOR JURY TRIAL
                                              15           Defendant herein hereby demands a jury trial.
                                              16           WHEREFORE, this answering Defendant prays as follows:
                                              17    1.     That Plaintiff herein takes nothing by the Complaint on file herein;
                                              18    2.     That this answering Defendant has judgment for its costs of suit incurred herein; and
                                              19    3.     For such other and further relief as the Court may deem just and proper.
                                              20
                                                    DATED: March 6, 2020                         THE HAHN LEGAL GROUPAPC
                                              21

                                              22
                                                                                         By:
                                              23                                                 ADRIENNE R. HAHN,
                                                                                                 Attorneys for Defendant
                                              24                                                 TARGET CORPORATION
                                              25
                                              26
                                              27
                                              28

                                                           TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY TRIAL
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                                                 1                                                PROOF OF SERVICE
                                                2    I am over the age of 18 and am not a party to this action or cause. I am a resident of or employed in the County of
                                                     Los Angeles. My business address is 2361 Rosecrans Avenue, Suite 373, El Segundo, California 90245.
                                                3
                                                     On March 6, 2020, I served a copy of the following documents:
                                                4
                                                      TARGET CORPORATION’S ANSWER TO COMPLAINT AND DEMAND FOR JURY
                                                5                                TRIAL
                                                6    by enclosing them in an envelope and
                                                         (     ) [U.S. MAIL] depositing the sealed envelope with the United States Postal Service, with the postage
                                                 7                 fully prepaid on the date and at the city and state shown below, or

                                                8       ( X )      placing the sealed envelope for collection and mailing on the date and at the place shown below,
                                                                   following our ordinary business practices. I am readily familiar with this business’ practice for
                                                9                  collecting and processing correspondence for mailing. On the same day that correspondence is placed
                                                                   for collection and mailing, it is deposited in the ordinary course of business with the United States
                                                10                 Postal Service in a sealed envelope with postage fully prepaid, or
                                                        (      )   [EXPRESS MAIL] depositing the sealed envelope in a post office, mailbox, subpost, office,
                                                11                 substation, mail chute or other like facility regularly maintained by the United States Postal Service
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                                                   for receipt of Express Mail, together with an unsigned copy of this declaration, with Express Mail
                                                12
    THE HAHN LEGAL GROUPAPC
    2361 Rosecrans Avenue, Suite 373




                                                                   postage fully prepaid, or
        El Segundo, California 90245




                                                13      (      )   [EXPRESS SERVICE CARRIER] depositing the sealed envelope in a box, substation, or other
                                                                   facility regularly maintained by ( ) FEDERAL EXPRESS, ( ) UPS, ( ) DHL, an express service
                                                14                 carrier, or delivering to a courier or driver authorized by said express service carrier to receive
                                                                   documents; or
                                                15      (      )   [FACSIMILE] by transmitting the aforementioned documents via facsimile from a facsimile
                                                                   transmission device at phone number (310) 706-3440, with an unsigned copy of this declaration, to the
                                                16                 recipient(s) set forth below at the phone numbers noted therein. The foregoing facsimile transmission
                                                                   was reported as complete without error by a transmission report issued by the device upon which the
                                                17                 said transmission was made immediately following the transmission. A true and correct copy of the
                                                                   said transmission report is attached hereto; or
                                                18
                                                        (      )   [PERSONAL SERVICE] causing such envelope to be delivered by hand to the recipient(s) identified
                                                19                 below, at the address(es) set forth therein.

                                               20       (      )   [ELECTRONIC MAIL] by transmitting the aforementioned documents via electronic mail as an
                                                                   attachment from my business email address to a known email address for the recipient set forth below.
                                                21
                                                     The foregoing envelope was addressed and mailed to the address(es) below, or delivered by hand at the address(es)
                                               22    below if personally served, or the documents were transmitted via facsimile machine to:

                                               23
                                                        ( X )      and to additional parties and/or counsel listed in the attached service list.
                                               24
                                               25    I declare under penalty of perjury under the laws of the State of California that the above is
                                                     true and correct.
                                               26    Executed on March 6, 2020, in El Segundo, California.

                                                27
                                                                        BRANDI ROSALES
                                               28


                                                                                                   PROOF OF SERVICE

                                                                                                                                                                 105
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 106 of 113 Page ID #:106

                                 SERVICE LIST

 Mr. Carl D. Barnes
 Mr. Andrew J. Fodo
 L/O CARL D. BARNES
 2500 E. Colorado Blvd., Suite 350
 Pasadena, CA 91107
 T: (213)487-5200/F: (213)487-0801
 Attorneys for Plaintiff ANTONIA ANGHEL




                               PROOF OF SERVICE


                                                                         106
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                    EXHIBIT “H”
                                                                         107
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2       ahahn@hahnlegalgroup.com
        ADAM C. ZAMOST, SBN 305655
3       azamost@hahnlegalgroup.com
        2361 Rosecrans Avenue, Suite 373
4       El Segundo, California 90245
        T:(310)706-3400/F:(310)706-3440
5

6       Attorneys for Defendant
        TARGET CORPORATION
7

8                        SUPERIOR COURT OF THE STATE OF THE CALIFORNIA
9                   COUNTY OF SAN BERNARDINO – SAN BERNARDINO DISTRICT
10

11       ANTONIA ANGHEL                                 CASE NO: CIVDS2003337
                                                        Complaint Filed: 01/31/2020
12                     Plaintiff,                       Hon. Lynn Poncin, Dept. “S28”

13            vs.
                                                        NOTICE OF REMOVAL TO FEDERAL
14       TARGET CORPORATION and DOES 1                  COURT
         TO 50, Inclusive.
15
                       Defendants.
16                                                      Trial: 06/28/2021
17

18
        TO: THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
19
                PLEASE TAKE NOTICE that on December 30, 2020, Defendant TARGET
20
        CORPORATION filed a Notice of Removal to Federal Court.                   Attached hereto are the
21
        documents filed in the United States District Court, Central District, Eastern Division:
22
                Exhibit A:            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
23
                                      §1441(A) AND (B) [DIVERSITY OF CITIZENSHIP
24
                                      JURISDICTION]
25
                Exhibit B:            CIVIL COVER SHEET, SUPPLEMENTAL CIVIL COVER
26
                                      SHEET;
27
        ///
28

                                     NOTICE OF REMOVAL TO FEDERAL COURT

                                                                                                     108
                                              Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 109 of 113 Page ID #:109




                                               1          Exhibit C:           CERTIFICATION AND NOTICE OF INTERESTED PARTIES;
                                               2                               and
                                               3          Exhibit D:           NOTICE TO ADVERSE PARTY OF REMOVAL TO FEDERAL
                                               4                               COURT.
                                               5
                                               6
                                                    DATED: December 30, 2020               THE HAHN LEGAL GROUPAPC
                                               7

                                               8
                                                                                     By:
                                               9                                           ADRIENNE R. HAHN,
                                                                                           Attorneys for Defendant
                                              10                                           TARGET CORPORATION
                                              11
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                              12
    THE HAHN LEGAL GROUP APC
    2361 Rosecrans Avenue, Suite 373
        El Segundo, California 90245




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                                                                          NOTICE OF REMOVAL TO FEDERAL COURT
                                                                                             2
                                                                                                                          109
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                                                 1                                                 PROOF OF SERVICE
                                                 2   I am over the age of 18 and am not a party to this action or cause. I am a resident of or employed in the County of
                                                     Los Angeles. My business address is 2361 Rosecrans Avenue, Suite 373, El Segundo, California 90245.
                                                 3
                                                     On December 30, 2020, I served a copy of the following documents:
                                                 4
                                                                                 NOTICE OF REMOVAL TO FEDERAL COURT
                                                 5
                                                     by enclosing them in an envelope and
                                                 6       (     ) [U.S. MAIL] depositing the sealed envelope with the United States Postal Service, with the postage
                                                                   fully prepaid on the date and at the city and state shown below, or
                                                 7
                                                         (      )   placing the sealed envelope for collection and mailing on the date and at the place shown below,
                                                 8                  following our ordinary business practices. I am readily familiar with this business’ practice for
                                                                    collecting and processing correspondence for mailing. On the same day that correspondence is placed
                                                 9                  for collection and mailing, it is deposited in the ordinary course of business with the United States
                                                                    Postal Service in a sealed envelope with postage fully prepaid, or
                                                10       (      )   [EXPRESS MAIL] depositing the sealed envelope in a post office, mailbox, subpost, office,
                                                                    substation, mail chute or other like facility regularly maintained by the United States Postal Service
                                                11                  for receipt of Express Mail, together with an unsigned copy of this declaration, with Express Mail
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                                                    postage fully prepaid, or
                                                12
    THE HAHN LEGAL GROUPAPC
    2361 Rosecrans Avenue, Suite 373




                                                         (      )   [EXPRESS SERVICE CARRIER] depositing the sealed envelope in a box, substation, or other
        El Segundo, California 90245




                                                13                  facility regularly maintained by ( ) FEDERAL EXPRESS, ( ) UPS, ( ) DHL, an express service
                                                                    carrier, or delivering to a courier or driver authorized by said express service carrier to receive
                                                14                  documents; or
                                                         (      )   [FACSIMILE] by transmitting the aforementioned documents via facsimile from a facsimile
                                                15                  transmission device at phone number (310) 706-3440, with an unsigned copy of this declaration, to the
                                                                    recipient(s) set forth below at the phone numbers noted therein. The foregoing facsimile transmission
                                                16                  was reported as complete without error by a transmission report issued by the device upon which the
                                                                    said transmission was made immediately following the transmission. A true and correct copy of the
                                                17                  said transmission report is attached hereto; or

                                                18       (      )   [PERSONAL SERVICE] causing such envelope to be delivered by hand to the recipient(s) identified
                                                                    below, at the address(es) set forth therein.
                                                19
                                                         ( X )      [ELECTRONIC MAIL] by transmitting the aforementioned documents via electronic mail as an
                                                20                  attachment from my business email address to a known email address for the recipient set forth below.

                                                21   The foregoing envelope was addressed and mailed to the address(es) below, or delivered by hand at the address(es)
                                                     below if personally served, or the documents were transmitted via facsimile machine to:
                                                22
                                                23       ( X )      and to additional parties and/or counsel listed in the attached service list.

                                                24
                                                      I declare under penalty of perjury under the laws of the State of California that the above is
                                                25    true and correct.
                                                     Executed on December 30, 2020, in El Segundo, California.
                                                26
                                                                        Brandi Rosales
                                                27
                                                                         BRANDI ROSALES
                                                28


                                                                                                    PROOF OF SERVICE

                                                                                                                                                                110
Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 111 of 113 Page ID #:111

                                 SERVICE LIST

 Mr. Carl D. Barnes
 Mr. Andrew J. Fodo
 L/O CARL D. BARNES
 2500 E. Colorado Blvd., Suite 350
 Pasadena, CA 91107
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 E-Mail: carldbarnes@mindspring.com
 Attorneys for Plaintiff ANTONIA ANGHEL




                               PROOF OF SERVICE


                                                                         111
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 5

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 7

 8                          UNITED STATES DISTRICT COURT
 9
             CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10

11     ANTONIA ANGHEL                          CASE NO: 5:20-cv-02671
12                   Plaintiff,
13
                                               District Judge:
          vs.                                  Magistrate Judge:
14     TARGET CORPORATION and
15
       DOES 1 TO 50, Inclusive.                CERTIFICATE OF SERVICE
                                               [Pursuant to L.R.5-3.2.1]
16
                     Defendants.

17

18
19    I, Brandi Rosales, certify and declare as follows:
20          I am over the age of 18 years and not a party to this action.
21          My business address is 2361 Rosecrans Avenue, Suite 373, El Segundo,
22    California 90245, which is located in the city, county and state where the mailing
23    described below took place.
24          On December 30, 2020, I electronically filed and electronically served the
25    following document pursuant to Local Rule, Rule 5-3.2.1: NOTICE OF
26    REMOVAL OF ACTION UNDER 28 U.S.C. §1441(A) AND (B) [DIVERSITY
27    OF CITIZENSHIP JURISDICTION]; 28 U.S.C §1446; 28 U.S.C. §1332.
28                                              1

                                                                     CERTIFICATE112
                                                                                  OF SERVICE
                                                                         Case No. 5:20-cv-02671
                                              Case 5:20-cv-02671-SP Document 1 Filed 12/30/20 Page 113 of 113 Page ID #:113




                                               1
                                                          Said document was served upon the following parties, via electronic email I
                                               2
                                                    sent to the following addressees, through their attorneys of record, as follows:
                                               3

                                               4    Mr. Carl D. Barnes
                                                    Mr. Andrew J. Fodo
                                               5    L/O CARL D. BARNES
                                                    2500 E. Colorado Blvd., Suite 350
                                               6    Pasadena, CA 91107
                                                    T: (213)487-5200/F: (213)487-0801
                                               7    E-Mail: carldbarnes@mindspring.com
                                                    Attorneys for Plaintiff ANTONIA ANGHEL
                                               8

                                               9

                                              10          Further, pursuant to Local Rule, Rule 5-3.2.1,” Service. Upon the electronic

                                              11    filing of a document, a “Notice of Electronic Filing” (“NEF”) will be automatically
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                              12    generated by the CM/ECF System and sent by e-mail to: (1) all attorneys who have
    THE HAHN LEGAL GROUPAPC
    2361 Rosecrans Avenue, Suite 373
        El Segundo, California 90245




                                              13    appeared in the case in this Court and who have consented to receive service

                                              14    through the CM/ECF System, and (2) all pro se parties who have been granted

                                              15    leave to file documents electronically in the case pursuant to L.R. 5-4.1.1 or who

                                              16    have appeared in the case and are registered to receive service through the

                                              17    CM/ECF System pursuant to L.R. 5-3.2.2. Unless service is governed by

                                              18    F.R.Civ.P. 4 or L.R. 79-5.3, service with this electronic NEF will constitute service

                                              19    pursuant to the Federal Rules of Civil and Criminal Procedure, and the NEF itself

                                              20    will constitute proof of service for individuals so served.

                                              21          I declare and certify under penalty of perjury that the foregoing is true and

                                              22    correct. Executed on December 30, 2020, at El Segundo, California.

                                              23
                                                                                     By:    Brandi Rosales
                                              24                                            Brandi Rosales
                                              25

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                                                                                                                   CERTIFICATE113
                                                                                                                                OF SERVICE
                                                                                                                       Case No. 5:20-cv-02671
